           Case 2:21-cv-03937-MWF-AFM Document 1-1 Filed 05/10/21 Page 1 of 77 Page ID #:5
                                                                                         21STCV10718
                                                                                                                         Executive Officer/Clerk of Court, by J. So,Deputy Clerk
Electronically FILED by Superior.Court of California, County of Los Angeles on 04/02/2021 09:43 AM Sherri R. Carter,



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                                                         (C1TAC10N JUDtClALj                                                                  I~3~L~

         NOTICE TO DEFENDANT:
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         (AVISOALDEMANDADO):
         COUNN OF LOS ANGELES, by and ihrough the LOS ANGELES COUNTY SHERIFF'S
         DEPARTMENT; DEPUTY VILANOVA; Additional Parties Attachment Form is Attacfied.
         YOU ARE BEING SU~[l BY PLAINTIFF:
         (LO ESTQ DEMANDANDO EL DEMANDANTE):
          JESSY DUENAS HERfVANOEZ
                                                                                                        wi ~~                                         days. ea t e in orma
          ~TIC I You have` een sue he coup may eci e agains you wrt out your eing ear un ess you respop
                                                                                                                                                             and have a copy
             You have 30 CAI.ENQAR DAYS after this summons and legal papers are served on you to file a written response at this court
                                                                                                                          proper legal form H yotl want the couA fA hear your
           served on the plaintiU. A letter a phone call wilt not protect you. Your written response must be 1n
                         may   be a court form that you can  use  for your response.    You   can  rind These   court forms    and more information at the California Courts
           case. There
                                                                   elp), your  county   law   library, or the courthouse    nearest    you. It you cannot pay the filing fee, ask the
           Online Sel!-Help Center (w►vw.courfinfo,ca,gou/selth
                                                                                                   may  lose  the case   by  default,  and  your wages, money, and propeRy may
           court Clerk for a fee waiver form. IF you do not file your response on time, you
           be Taken without further warning from the court.
                                                                                                                                                you may want to call an attorney
               There are other legal requirements. You may want to call an attorney [fight away. If you do not know an attorney,
                                                                you  may  be  eligible for free  legal  services  from  a  nonprofit   legal services program.You can locale
           referral service. If you cannot afford an attorney,
                                                                                                                                       Cou~is Online Seff-Help Center
           these nonprofit groups at the California Legal Services Web site(www.lawAelpcalifomia.arg), the Catifomia
                                                                                                                   NOTE: The court has a statutory lien for waived fees and
           (wrrw.courtinfo,ca.gov/sellhelp), or by contacting your Iocai court or county bar association.
                                                    award  of $10,000   or  more  in a civil case.  The   court's lien must be paid before the court will dismiss the case.
           costs on any settlement or atbitration
           lAVISO!Lo han demandado. St no responds dentro de 30 dfas,            !a  come    pueds   decidir  en su  contra   sin escucharsu versJbn. lea la init~nnacibn a
           continuaci6n.
                                                                                                                                  presenfar una rospuesta por escrito en este
               Tune 30 D/AS DE CAtENDARIO despu8s de que !e entreguen esta citaoi6n y papefes legates pars
                                             una copra al damandante.     Vna  Carta  o  u~a   !Tornado   teJefdnrca no  to proleger►,   Su respuasta por escrity Gene que estar
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                                                                                carte.  Es   posib(e  que   hays  un  formulario   qus   usfed  pueda usar pars su r~espuesta.
           en fortttato legal corrscto si desea que procesen su caso eA fa
                                                                                                                                 de Califomfa (w+vavv.sucate.ca.gov), en la
           Puede encontrar estos formularios da!a code y mds infolmac76n en et Centro de Ayvda de fas Cortes
                                                                                                                       cuota de pr~sentack5n, Aida 81 secreta►io de fa Corte que
            brblioteca d~ feyes de su condado o en la colts que le gvede mks cerna. Sr rro puede pagar fa
            fe d~ u» iorrnul~ria de exerrcibt~ da pogo de cuotas.   ~i no  presents   su t~spuesta     a  tfempo,  puede   peid~r el caso por incumplimiento y!a Corte le podr~
            quitar su sueldo, drrrero y btenes sin m8s advettencra,
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               Nay oUas requisltos legates. Es recomendabfe que !lame a yn abogado lnmedhatemente. S!no conoce
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            remisibn a abogados.
                                                      de ludo, Puede     encontrar   estos   grupos   sin  Tines de lucro  eR  el sitio web  de Califomra Lege! Services,
            p~og~ama de servrcios fegales sin Ernes
                                                                                                                                   poni~adose en contacto con!a cone o el
           (www.lawhefpcaldomla.o~g), en of Centro de Ayuda de las Codes de California,(www.sucorte.ca.gov)o
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            cofegio de abogados loco/es, AVlSO:Por ley, la cone Irene dereeho a ~~eciamarlas euotas y!os caostos
                                      de $90,000  b mks  de valortecibrda    mediante    un   acuerdo   o  una concesi6n    de  arbitraje en un Casa de derecho crvif, Tiene que
            cualquier rec~peracrbn
            pagar et gravamen de la c~oKe entes de que la Corte pusda desechar el caso.
          The name and address of the court is:
          (EI nombra y drr~5ccrbn de la code esJ:                                                                              21 STCV 10718
          sianley Mosk Courthouse
          111 N. Hill St„ Los Angeles, CA 90012
                                                                                                                                         y e!ntimero
          The name, address, and telephone number of plaintiffs attorney, or plaintiff withcwt an attorney, is:(Ef rrombre, la drreccibn
          de tel8fono deJ abogado del demandante, o de!demandanfe que na tiene abogado, es):
            Daniel C. Sharpe, Esq.(SBN 267075); Windsor Troy; 3101 Wilshire Blud, Suite 1111, Los Rngeles, CRby90010 T.(323)800.5405                                         ,Deputy
           DATE: ~+,~~i~~~~~                                                            Clerk,
                                                         5h~erri R. Carter Executive Officer) Clerk of Gourt
                                                                                        (Secieta~io)     ,~, ~ p                                                             (Adjunco)
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           (For prof of service of this summons, use Proof of Service of Summons    (form PAS  010).)
           {Aara prue6a de entrega de esta citafi6n use el farmufaria Proof of Service of Summons,(POs-010).)
            ~E~~          ~~~'-"'-~'~"""~ NOTICE 70 THE PERSON SERVED: You are served
                 ~ $~~~4~~tiP~ ~~ .                          7, Q as an individual defendant.
                f~                            ~~/, ak        2. Q as the person sued under the fictitious name of (specify):
               ~           t~                  _'                                         County of Los Angeles,
              f~             ~                ~~~
                                                 ~.          3. [~ on behalf of (specify)•.~y and through the Los Angeles County Sheriff's Department
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                                       .fit        =~
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                ~~                                                     C]CCP 416,20 (defunct corporation)           [~      CCP 416.70 (conservatee)
                   ue,
               4, ,s
                                                                                                    or
                                                                       C]CCP 416,40 (association partnership)       0       CCP 416.90 (authorized person)
                                                                          other (specify): Governmental Entity
                                                             4. [~ by per~~nal delivery on (date) ~;~~ ~           ~'_~? ~                           Paso ~ tic $
           Fom~ -Adop~od(oeMagdatory U,a                                                     SUMMONS                                                   ceodo 01 Civl Procedure §§ 412.20, d65
           Judicial Counal of Cailom;a                                                                                                                                     www.caurts.ca.gov
           SUM.100 [Rev, duly 1, 2~09j

           For your protection and privacy, please press the Clear
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   Case 2:21-cv-03937-MWF-AFM Document 1-1 Filed 05/10/21 Page 2 of 77 Page ID #:6


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   s

   c,
          '?2.      ()~~ c}r al~~>t~t M~~~•c1~ 1{), 2d}?t), I'lai~~t.i:(vf't~~as c~c~rlci~~~; ~3t:l~is pl4~c~: c~t`u~n~7lczyx~~ct~t ~i~~zL~~

   x. 1~}e(er~ci~~~~ts VII_.:.ANOVt~ ~~~~d 5.~.~dL~C)V~'1L ~at~rirreci <~t t1~at t<>G~~tic~t~ a~xcl e~~Ceri;~~ tP~c; ~~rivaf~: ~Susizx~ss

   `>     ~arl~ilc~ a~.3.z~c~~~~t~in4~ t}l~t they mere; loc>l~i~~~~ :(c»• atz it~ci~:~~id~a~~1 tl3ey ici ~t~liliecE Gas Enx•ic~~zc~ EJ~irci~.t.
  ~„
          I~LI~:~~c~<~~~ts VII..:~1I~C)V~ ~.~~~c~ ~.~~N~{~V~I.:, aIc»~~; ~~ith a s~,~~~~rvisc~~• t;z~~~7lt>yrecl b~T,}c~.,1.S~~rrc:Tc I~~clo~~s.
  ~;
          r~.i~a~~~a~chec~ Pl~i~ntiff; u~~~~lo z~~~;~ ~~~era~irl~; a fio~•[clift <~t tl.~e ti~zze.

          ?3.         I'1~intifl4 ce~sic] c>~~er~~fin~ the f~~rklift ~~~~t: ~{its ~~aC ~~et t~~~t o~`tlxe :(<>X•~lift. 'I'li~ st~pervzs<jr <.e: kccci.
  l '3

          ~'l~~i~~ti_f'~`~~~1~~~~ :~:~~~•ic~~~{.a C:~E.~~~c.i~ ~~~t+s, t~ Pl~.~.inti#'1'stat+~~~ to thy: scG~e~~visc>r i:kaai plc believed lze c~%a~ Iil~e:l};

  )5      bc>~x~e~~ li re its thc. t~°a~-ehc3t~s~ ~tz•e~t tc~«~ards t~~~ back. I~~ ctc7i~~~Y ~c>, ~'lEtizltilf ti~°a.y ~~~~c~vitii~~~; I~i~ ~i~c~~t

  1G      ~~cc~,ir~~~e; a~~d t~t>~~est ~z~~clerst~~~~c~i~~~ c~1~t:lae Ic~ca.tic»~ c~1'a cc~wc~ricef•. [.)e:fcnda~~ts ljll_,AVC)V'.f~: anc:i

  I7      ~fi~l:~C)VI-~I.~g t~~17~ ~~re;~°e r~rese~~t ~.vlletz I'1~~i~~ti[`f'res~~c»-~c~e;tl to tl~e s~~pe~•~%isc7~°, c~ve;►•l~e~zrc~ 1'IG~i~~tif'f`;
  18
          st~~~eznc;~~t:~ ~°e~r~rciin~~; tl7e lc>ct.~ti<>n of'i~~~ izz<lzvi~l~~<~I E~~~~~~~•~~1t1~7 sc~~R.L};11t b}% I3e~e~~~14~~~ts.
  19
          ,?4.       I)elez~<1z~~~i~ VI.I.~~o~1t;1VA ~rrxc3 ~t~~.[~(.)V~I., ~°cs~><>~adec~ ~~y stati~~~; tl1G.~C ~re;c<~ug~ PLair~lil~.f'l~.ac3 G~
  ~t~
          t~~ttc~c~ c}~~ hip l~ar~cl zzr~ci e~x.~s a ~~i~p<~~a.ic~ t~~alc., Plziir~t.i#'f~r~atcl~cc~ t~~e d~~cs~ip#ic~z~ c~1'~:?t~r~.c~ca~; <.ia~~L~.z~.
  ~~ i
  ,.,      ~:.~efL~~cla~~ts VII.a~N~V~ anc~ ~1~,..I~I.[?<)VAI_. f u~-t:lx~r c>~~i~ec~ tl~~.t I'l~~z~~titt'r~jas in 1`~~c:t t~~~ric~ue t.ras~c;i~z

  z.:,     anr~ ~~~a~ ly~i~4~~~ tc~ c~.~~c~;a:l ~l~is ici-c~tzty.

  .~.~~    ?:~.       f'l~zi.r.~ti(f; ~~,~l~c~ cic3c~~ z~c~t ~•es€~.~~~ble I~~~~~.ic~ue C~~~.~~c;i~~ c~thex° ~I~~3~~ t}zr~t 1~~; h~~.~~~~et~s t.t~ ~~; a ~~i~~3<ka~zc
  S :~

          z~~<~1~; ~3~~c1 ,:~ls~~ ~~<.~:~ t~~ttc>c~~ c>z~ I~iS }~e~•sc>t~, ~~~:.R~iccl t~zt.~~ I~r: t~~~~~ lyi.~~~ 4~r~<l a~;~iir~ r°~~~u<~teci Cl~<it (~
  ~>.~}
          ~ancl~~~~~;t:c~t~cl tl~c~ cae~~~~z~I~~;r E:~~tic~~~~; C;~irci~~ ~~G~s lilce;ly, :i~~ the back of t~~c: t~~~~~~~ ~~c>u~;c= ~~Y~~;a.
  >-~

   5
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    i       2f~.        l~e:te~~cl~~nt Vll:u.~?~{)V~1 ~~l~~~sic<~11y ~;~•<.tt~(~~.c~ i']~iii~tilf.~c~1`t €3~~the fc~~°.(<t.f't at~d ~tt~eanptc;<I. tc~ t:~~~Xgi

   z        I'.1t~iriti:['t`s ~~x~~r~ i~z {~ ~Z~~~r~~~ez• the}.t c~ac~sed ~'laititilf tc> ~•cG~so~~{~blti~ ~~~~cl~z•st<iflci I)eier~ci~ax~t VILI-ANC)Vt~

            ~v~s <.~tt~;~~~~~~tin~; to (orczl~ly sul~ci.ue ar~ci re;~tr<~iz~ I'la.i~~ti[:f.

            27.         ,~~+t r~c~ ~c~i~~t ~~r~ic~r to this L~s~: cat' i`c~z°ce b~~ I.~~1c~zdar~t VII~,~N(;)V~, c~ic~ ~'Itii~~tiil~do or s1~T
    S~
            ~s►~ytl~i~~~ tc~ sLd~~;est tl~z€ lac; ~~jas a tl~z~eat tc> laiz~~se[.f.'t~r tt~e 1)e{e~ic~~rzts or rc.['use tc~ cc>o~~errtte i~~
    c~ ~'
            r.1t;~C1l()t~'~~l~~;lil~?; ~lf:i tT.tl(~E',I°Slc121L~212M E)~ ~t'~1CI'4 .~',I'lI'1.C~lt(: (711'Ci~i. ~L'~~S ~{}CG~tf;t~ OY1 L~"it,' ~t`f;t211SGS. ~~%tt11f`t`~


    8       ~~~G~lT191.~~~ t1"lf'~'(;~~/ <~C~CII(}t~'~E',C~~;eC~. ~I(S }1()[2(:'S~ 1:t11C~E;~':iti111C~I1"1~-', 1~1rlt 1~1(; IF1C~lV1C~ldcY~ .~)C;~ti.',11C1~~1371.5 L~%t'['(: SLf:%~{li1L?


    9       ~~~,:~s ire a~lc~tl7er seckio~l of the ~~-~.t~•e~uxz~e. Als~~..Plaintiff:v~~as z~t~# il~ fact .L-?nri.c~~E~:e
                                                                                                                  t~      C~~rc;ia.

   )s~
            ~K.          ~?~<~IT1~1~~~ ~)Lt~.~f'C~ it~7t%it~' {I"t)(TI ~.)f_'~tI1<~%it1~ ~r~~~/~,.~t~~+rl~, ~ti1C~ iIl"1l11€'C~I~I~C~~% ~711~~f'.C~ Olin 1215 ~3~`,CSC~11~1~

   11
            C~'~.~~l~1f31"1t; i2tlt~ ~f;~t1T1 t"E`GCDtt13t14ur, ~~2t` 1111~'I'tlCL1QTl t}!I~ tt(~~G~.t' ~Ot 7115 S~i~L1~7, t~'~IiC;~7 Wc1S TGii.SC1T1~.~3.~.' L24'~L~
   1?
            ~(~G~t I~e[e~~clt~nt V1L~1N()VE1 ~u~t i~~ec~ f<lrce ~~~itl~t>~►t I~;~,~al j~cstrfi~~~iic~~~ a.fte;r ru~:c~six~~; t:o l~~:li~;z%~; that
   I :i

            1:'i~ix~ti~`t'~t=as ~~c~t ~~~~.t•ic~~.re; C:za~•ci~.~ si~~~}~ty be:c~~:~~sc~ I.'I~3i~~ti.(~f was ~-iig~7a~~ic arici :1~t~d c~sze: car r~t<>z•e t:<.~i:tc~cj~.
   1~
            ~c~.        {)~~c~: ~'1<zi~~2i~'f° 17e~;ai~ .~~~cc>z~c~li.zx4r tlzL ~.z~c<~~~t~te~•, De.(ez~cf<~nt VIIu ~1.NC}V~'~ c~~~sc~d t~r~y ftz~~tl~~ s°
   a~

   Ib       eiic~~•ts ~o ~~hys~c~~Ily restz°ai.ra car Ezccc}st P:t~air~t7~f`c>ut c>.('~~~~~~~~~~;~~t feaz• o~'l~caz~~~ recc7r~fe;ci ~~~1~ile ~~~~;ati~;ed

   I7
            i~~ t~~i5ct~ttc~tt~'t.
   Ih
            :#{).        I)c;f~;.~xc~a~~ts V1I:.a~;:NOt'f1 ~~~.c~ ShN.~()VAI.., t•e~c;~.tCeclly c~~~L~tic»~ed T'.ltaiz~t~.f'.E' isl ~.~~ a~~~~a<tz•e;~~t
   19
            e;ff~~~~i it7 ~;et ~'1<~irltifl`tc~ x:~c~tnrt: lie ~ti!<zs I nt~ic~u~ C:~~az~ci{~; d~~t~i~~~ ibis c~~~e;stzo~~i~r;}. I'Izrir~tili'c~ic~ trot tee;l.
   ~(3

   1~
            1~~: ~~ ~~~ {re;e tc> 1eai~e T~t:~:~~~d~~~7ts' ~~r~sur~~;c ~~ncl co~7tir~ue. t~rztl~ lzi.s,jc~b duties clu~•x~~4; f:I~is excl~az~ti3e;.

   '}'3     ~'If~i~~ti[~~'the~~efc~rc ~~~~~~~t~~i(~[~~ ~ar~c~~r~tc7c~ci lie d~~s~~ 1~~;~z~~; <3e;tai~~e~ E~~= I.3e1`e~1cl~~z7ts VII:,,~NE;)~'~ ~:t.r~ci.

   ~:;      5f~ i~I~C~V<h~_, .i~~ t}~eia- ca~~ac;ity ~~s 1.~ttir~ et~[:c~rz-ue~~le,~3.t «~'Iic~;r~.

    ~..~       ~.        I~1<~~r~tiff'z•e~~c;atec~ll~r ~:~[cec~ ta~l.~y!~~° ~u~:; lse;i~~~; gz~ustic~r~eci ~an<~ c~lzat cri~~aL Ise: ~~f~a sti~s~7cc;t<;ci {~1.
   ~1
            c:c}~~~ii~itt~~~a~. I.7~~e~~~~<.t~iis ~J{I_,~fi~C)~~.~ ~~~~~~ ~~Nl:)(:)~'1~~.~ ~~e~st ~;t~~trr~LY ~h<~.t I.~l~ti~~ti(~~'clicl ~~c}zntY~it G~~~
   ~~ e,
            c~s~i~~c;~at.i~i~cl c~~°irzl~; ~'i~'y~<~~~ <xx~; t:1~~~~ic~t~~ ~~~as~ciG~.`~ ~'Iazrat.it`l c;t3~~tinuec~ tc> [~c3~.~~:4tl~r c°~~y~ that Inc: i~,~as
   ~;
            [:~.~z.zc~~~~, C:~~z~c,i6z.
    5

                                                                                 C'(')\~it'i ~\fV'I' f=CSR 1?:AP.i ~.C;E
                                                                                                    8
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          ;32.         I)e:(ez~c~~~~7ts V(.I...~~NC)V1~ anti ~~1NI~(aVAL ass~~~•teci. t:l~az t:l~~;~r v,~erc ~•i~;}~t tc~ s~~spect Plait~t.~f{`

    z     {~f'~~s~:i~~a~ Iu~~rit}~~ Cr~c•c.ia b~c~~~~se the supe~•ti-isc~t• ic~en.tiiiecl l~ii~~ <as M~•. C:xt~z~cia. ~'1t~i~~tift res~~c}~zc~e~~ t1~7t

            -as ~1c}t i~~~e. that tl~e s~a~~e~•~~isc~r rne~~el~% a.~lzeci I~lait~til~(~L~r1~c~•e ~~~~•~qta~ C:~<.~~•ci~ tiva,.
    n
          >3.          I:.)~:iec~tlal~t V.IC~~.NC}Vll thezt ~.3:;;e;~•ted ~~rtat .I'lt~.iaati~'i`aci~~~ittcc~ tc~ t}~e s~zpe~•~risaf• tf~at ~~e.:~•~Ga11~;

            =as I:~,.tt~•ic~~~~; C..~arc.ia, ~;jl~ticl~ ~~r~~s (alas.
     e~
    7     3~.           I'Iai~~►ti.(~Eci~t~tiiz~~ec~ ttj spec.~k in t~ ~tr<~i~l~tf<>r~~~.t~•d ~i~~cl cl.eaz• ~~~~~.c~r~e~•, a.~;~;erii~~~ ri~t~i he ~~•~~s

     X    cc>z~ce;x~~~e,c~ tl~.at I.)€;fendaa~t V.1[.AN{:)Vt~ ~c~;c~s#~c:~ hi~n, at~d tlz~at I'lai~~tif'(~r~~~.t~7ied t~~ cic;-esct.~l<.~te tl~e;
     c~
          til~lt%~fi:IC311.

   I (1
          35.          I)e:(e;zaciant VILf~NC7V~ tt~e;~~ tt~oi~ I'I<~ii~tz.~f"s }71~c~r~e: #i•c~zr~ Irixr~ ti~~~it~~<>~~t: ~~err~iissic>c~ <iz• ]car<:i.l
   ti
          <~ittl~€>t~ity t:t} c~c~ sc>, ai~~~e;e! the ea~x~e~•z ~~t the s~.►~7ervi~or, a~~c~ cle~Y~at~cteci that t ie; ~c~~e:r~~isor bt<~tc tl~t~t
  ~2
          ~.~~:fe~~~iznt VII_:.f~,N(~Vt~ c~ict z~c~~ twist I'l~~irlii~'f"s ~~•~n l~e}iizxc~ ~~.is ~<~~tc. Tae:Iez~~i<~~~t VI[uAN()VA th~~~.
  13

          ~~~~~~c;r~ tJ~e; carii~;ra <.~t ~lr.~~nti~l~a~~d rai~ect I1is d=dice, c~c;rz~<~ndiza~ that ~']~~~zxtiff'c,or~fi~°tx~ if'he ~~~~s i~~ I'~c~
  14


  )S      ~:~.~~ziy~~e t:~<~rc~a, e~lzic~h ~'(~:iir.~ti~~'cazatin~~e~i. tc> ~~c>r7~°s~15~ ~~~~s~v~;~• t1~at l7e vas ~~cxt.

   ~ c;   3E~.         l'l~ii~zt.ii~ re;~>uate.c~ly ~~sl~eci fc~~• [pis ~l~c~~le t~~~ck:, but I~ef:e°~~cl~~nt: G'I.(_,.~iVOVA z°efu,~r;c~ tc3 ~°Lt~a~~r1
  i7
          t~l(~ (7~"1C)Il~.

  I&
          X37.         I~ ;(e.1~c~~t~~t L'IC.,~~.~It:)~~t~, t~xe~~ i}~re~itcz~ecl tc> J~szr~cic~~~ ~l'1azr~gi.l`f~G~t~ci talcG 3~i7~~ tc7 tl.~ei€~ ~~alice:
  I9
          i~el~icle ~~~t~less ~'It~-iz~tif~` ~r<>ditc:~.c~ .ic~e~tzt~i~eat~ic~~~ ~~~~~•ov~.r1~; l~z~ ~-as ~~t3t ~:t~rique Cra~•cia..
  ryf)

          ~K.          [)~~ri~~~ l:l~e r~;cc.>rtic~c~ ir~:(.~°t•<.~c~zc~~~, I~c;fef~c~ariY: V1I.~.~1~C:~VA ~r~t~ciceci 4'1ai~~.tif'i~:(c~~~ ~~tte,~~a~7ii~i4r tc}
   '. i

  7>      I't'GE)1'C~ 1~1~ (;1~GE}lill~:t:1', Sl~ll.l.tlt._T f:Ili1~ ~~~G3(I2~1~4~ Cf)L1~C~ (~Itt ~~'1<; Vl(~(Gt3 "t)P'l ~rOltf~'LII7E;' I~ttl;[°. ~.)f',~f'TtC~Clt1~


  3j      ~;"I1..!~N~)Vl~.'~ cc~~~~s~~~;r~ts ~~~~~~e~~~~ec~ c~t1.~;~~I<.~t~ ci try .E~~z~~~iiiat:€; <~~~rcl c~e;~~zeart I'1ai~~tf1`f~ 1<~r• 1~is cc»~~ur-~~s

   ~~
          ~~b<>ut ~a~~j~~st.i~.i~:c~ ~~»•c~ <~r~cf ~t~r exe~•~:isin~ (~i5 ri~~,E~t tc~ r°ecorcl l~~c~~ c;s~~'t~rce~~~exrt ~e~:~i~~°tjliy.
   y~
          3~).         ~:~G~x•in~; tt~e rec;c>r•c~eci i~~€e~°ac:tia~~, I:I)e:fc~z~c{~~~lts ~'I~.,~NC:~VA a~ac{ ~~AI?ll~~:)V~I_ ~.t~;~ain c;1~.~7r~aecl
  :>.t;
          ti~~t ~tl~c;~ :~~~~~~rv~ist~r zc~et7iijzcc~ I'~I~~ii,t.i{:f t~~ Inr°ic~~z~ ~~arci.~, ~~~l~~ic~z tEtc. stzp~;~•~%isc»~ c<~:~l~.citl~~ ti~x~i~;cl~
  ,.w
          ~~~ttit~s,~. Irc c~.i~ ~zc~i ~<~~tt~~u ~~~~c~ 9'I~~~t~t~~~~~'~,~;~~.
  ~S




                                                                                             q
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     a     ~(),       I~e(e~~cl~znt ~~1NI:7{)V;~.I.. the~~ s#~~~ped ~E~rward ~~~itl~ir~ a I°e~~- i~~c~les of ('Iaitltil.'Cs f<~c:e {:z~1t~                            I

    2
           c~~;m~i.~~c3ed Plait~ti{`(~~~~•c~c~luc~e ici~tzi:if~catit~~t.                                                                                              ',
     5
           ~€:[.      I?eie~zdar~t V[I._1~NC)V.~1 thc~~ te;r~t~ix~<z~e~l the v~c~ec~ r~cc~x~c~:i~~~ c.>7~ E'(air~tzfi`'s pllc>t~e. after ~~rl~ic(~

           I~efe~~c~{.~~~t `~ILNI:}C7V~1I.~ {c~~•eif~ly seat~cl~e~ I'l~u~tzFf, lc>cateci ~lis ~n>al.let anti- z~~e:~~tikict.~tion, t1~f;~~ t:c~ssed
    S
           flze ~~-~.~llet ~zzc3 its cc»~t~:t~fs c7il. t~~~ t~or}~~.
    t,
           ~~?.        I)~f~e~~c~a~~ts ~III_,~N~V.l~, anti SAN~~[~C~V.F~~I~ th~~~l t.lare~tt~~~ecl to ~~r•~•~st ~'l~~intift writ~:lz

     K     c31~~t:~•t~ct:i<»a c~t`.jikstice i.t`they c3itl not ~ixe~es:~i'Gt1ly lt~c<~t~; ~n~ a~•~•est t}~e; t~•~~ I~~~~iq~.~u {:Tt.~~•ci~~ ll~e~•eaftc~~.

     ~~    -~3.       ':I'h~; eve~~i.~ aI` M<.~rch 10,',{?20 a.r~~rcgl~~i~~~; I)e;t:et~ci~~t~ts VII.,,~i~f)VI~ ~~nc~t SI~NDOV.~L sett
   r i,
           E'(aiz~titf ernc~tio~~~~.11y tz•~~~a~~~K~ti.~.G~ <t7~ci ~t~t~z•~-i~t:i that ~~~e.z~~be;rs ot:~tiie I_,c~s ~~z~e.l s C~c~t~~~ty~ ~}a~t~if`f`~
   IS
           ~4~'t~13'tI1lGI1t \~'LfG j7T'~~'itll'f;C~ t{J <~SS3Ll~l, t~t;t~~i17. ~(2C~ flt"Y(;51 X11122 ~)~CG~USf; ~~1£~1t2(I~.~ .t'GGOYE'~E.:C~ ~Il CIIC{)1t11~f;t'
   1~
           c>£`I)efenc~azxt:s VI1:,~1NOV~1 a~~d. St~N~~OV.t~I., cic:tai~~i.~~.4~, ~~ssa.L~Itiz~~~;, a~~c~ 11~ruatc.~~s~1~,~ 17i~~.
   I3

           ~~-~.       ~'}~.~i~7iift'p~>~;t~,ci Ile v~.dec~ x•uct>rc~x~i~; c>{'tl~e ~::.i~c<~z~tziur ~uitll. ~e(er~c~~~tlts VI[:.~t~:N{:)Vr'1 a~~c{
   3~


   iS      ;~<~ i~I:)~~V~1I~ c~tllic;, t~~~l.it~~; t}~~: vic~uo .eecc>~•c~a~1t.~ ~~v~til~Eile io vie~a~ p~x~licly fc~t~ at~yo~1~, it~cluc~i7~

  ( r,     ~~~c:t~~l~e~-s c3f't:he Lc~s ~tx~;~:lt;s C~~rcR~~~~j 5~3e~~zff"s I~}e~7~~~~t~~e,~~t..

   17
           ~:~.        C:)~~ c~~• ~.~~c>ut Mizrch l3, ?t}2(), I~l~~r~lti.f~f'toc~lc ~~. ~~~e11 (~~°~alc fro~r~ Izz~ «t~,.~~Ic s[~~tt anc~ circ~ve t« ~~.

           ~~e:.arb~% c;<>g~vez~iezace sic}ru. ~~hi_1u c~~~i:~~ztt~; t~<3ck tc~ leis ~~lace af`~~~~~.~Ioy~xze~~i:, P1~trt~Ei.f'f.'t~c~ticLct th<.~t tie
   t t~
           ~~<~5 (~~;~a~t~ 9'o11t3~~~Lci h~= t~. ~~c>lic~; ~~c~~:rc1e fa~z~~°~x74.~ t~~~ ~~1<~z•ki~.~~;s of t:lac~ ~.t~s ~rxbeles t:;c~~.~►~ty ;~1~~:~°iS~f"s
   7c~
           I:)e~~<~rt~~~e~~t.
   M~ ~
   7,      -~6.        P(~zi~~ti{~(~~°oll~c~. d<>~~j~~ }pis ~~~i~ac~<~~~-s ~.~~~tl c>~Sse;~•~-~c~ tl~e ~~c~lic;e; ~=chicle ~r~~ll u~~ ~xexC tc~ ~~it17 art ~~

   ~~.:,   ~•c;c~ li~;k~(., i'lai~llil'.('c~h4c:1•~~ec~l twc~ d~~utius in tl~e c%~Iaicle, latc.~• icic,~~tii.it~ as .I?c;fc.~~c~~►~~t:~; IAM.~3I~~NC)

     >~.   t~x3cl ~~[.~VI~I~~~%, "['~~~, ~e;~7~zt~- duf~;~~c~~~~~~ sztti~~~; i~~ t~~4° ~~~~~su~~z~}e~• se,L~.t: __ ~~~ht~ ~'1<xi~.~tif1~}7~•~sezztly
  ,;
           ~~~~c~e~~•~tax~c~s ~c~ 17tx I~e1'e;t~c~c3n~ ALV~'~tZC:~' -_ a~7~a~~~re;~1 tc> z~~~~l~~; eye cc~r~ta~,i: vvii:l~ I'Iai~ltif~(~.~.r~cl ~~r~{:~ ray.
    >~,
           ~~it~~, ~~~1~ic;l~ I'1<~i1~i.i~f'tcsc~Ic. tc> l~~ <~ ~~c~lit; z~c~~t-t-°~r~<al 4>s~c~°ti~~;. 1'Cairi~ift~~~c>c~c~~;ct irX ~•tY:~~~ot~~~. JI'}~~;1is4i~t
   ~~
           i.~~r~~e:c~ ~;~•~:~;~~, ~.~~~~~ .E~I~~~~zti.f`,,cc>zttE~~~~ec~ 1~~~•~~,~axc4 ~~~~ ~~i:_, ~,~<ty {~<~c;l~ tc~ ~~i;~ ~~I~tc~e° c~~'~=t~~}~I~~~~x~e~~~..
   ~:

                                                                            coy,-rr~r._-~~v~r rort ~:~ ~_n;~^,rr~.a,
                                                                                              i c1
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      i      4T.         I)~fe►~c1~~~1ts Zs~[VI~3It.rlliiC} Kirlci AIJVAR~,1 tl,~~;z~ ac;tz~~G~t:ed t1~e c~sr~;rlle~cl lights ~.~~7c1 a.~~~7e<~{~ecl to

      2.
             si~~3.~1 tt~ P1ai~~ia.tf tl~a~ t(~ey Svc-re ~~~z~lli~~~ 1~iz~3 o~r~:r•.                                                                                              i
                                                                                                                                                                                  i
             ~K.         1'laintif'f, ~~lx> wt~s <~~vaz°e c>f`il~e history ~~l~zzt.iscoiatluc~.t issues ~~t~~c>n~ mena~~e~•s of~th~° I.,<>s                                       ~!,
      n)
             %~r.7f,eles ('c~unt`~ ~S~~e;z~igl"s I~epar•tzner~t aY~cl llac~ just ~xpe~•ienced <~ x~eg~~.t:ive, unnec~sst~z~ily vi<>1~;~~t
      s~
             e;~~cc>~~ntez• 1~~it1i culler zr~eX~i(~~r.s of~ €h~ de;~7t.~i~i~~-~ent three days ~~•ior, ~~~~t c~~1 }pis ha~;~rrcl lights zr~ c~~•c~et°
      c, '
             t<~ cozr~z~~u~~icate leis ~~r~~ti~•e~~ess teat lie vets l~sei~~~ ~~l~llec~ t>~%e~•, bul cc~zxti~~c~ed drivi.~~g slc~~~~l}j uc~til I~u

      ~'' w~zs a.l~lc tc~ ~~~11 aver ~t ~~~ iz~terseetir.>z1 oi° c~t~~~~~ ~~iea. t~.lo~t~ t17e street tl~a~ ~n~~as ~v~;ll Iit ~:tr~d wllez~e ~~ny
      ~~
              z~te~•~~.cti«~~ wit1~ lase cnlarcen~ez~t vas ~~~o~•c; fil;~ly tc~ l7e cil~sG~•veci by ti~~itt~c~sses.
  Ii)
             ~r~-~.      ~~~~ttlltl~`~ ~74t~~(',t~ C)l'Gt' ilf; f?l' 21C;it1' t~l~' 117~(`i'S~L",~lllTl C>~~ ~~~1USC)Tl ~1VG1111C; it11C~ ~~£ItTI<;C~~i..S`2Y~t;~ illl(~

  11
             :~lt,'~}IGC~ t?l3~ i){~~115 t'f~1lCIC', 41'Ir~l 115 G~~~~7~1t311f_' .ltl ~"l1~ ~1ilriC~ cat1E~ t~1.t~ Gf~lllf,`t'~t CG;GC)I°C~lT2!'. ~~~ii.)11t1~~~~C;~"1(}SE' ~Cl
  i?
             ~c;4.~i.:u r€;cc3~•cii~~~, the e:ncc~tY~~t~~~ it~amecliatel}~ t}~.~t o1'~t~t~ce~•n tc~~• llis sa:tety ~znc~ ~ue1t-beix~~; ztx li~;~~t {.>~'
  A :~
             t~~c: t•~;ce;~~t: c~t~cc>i~i~t~;r wit:1~ ~~~~r~~~,~;~•s c>Y'tl~e I:,c~s ~~~;~~[e~ t"c~~~~~ty ~1~~riF1's I.Je~~G~.z°t~za~ ~~t G~~~d tl~e Tact tl~~.it
  ~ ~~

  as         1~~;~c;~~tl<~~~t VI(_.:r'~NC7V~ c~~7ly Lr~~r~~ec~ i7~ ~>l~ys.ic<~1 ~~ic~ierace: a~~.~i~~st I~1<~ix~til'f i~~ tl~e ~~z°ic~r it~ci<.lez~i

  ~ r;       ~~~hez~ t'Iaini:ifl`r~~=a:; ~io~ r•eco~•ctiz~~, t1~at inf~~;rac~tic~n.

  !7
             ;~{).       ~.)t'~€~T1C~G111~ Jr~tL~~~'~~N~~a 1tiT~1() ~~t~lll~l~~~ tIC1C~f'T'~~ci11C~S tt'%IS 1~2G (~U~?ltf~ {3~7~Cat111f; 1}lf~ ~)ET}(C;E;

  I
             ve ~~ic:(L. a}~~~°~>~~c1~e;ci. f'1<iil~til'f ~.~~.~c! ~~~~~~•ily shc~cttcc! °`I7icl .( say yc~t~ cc~t~lc~ ~;et c~c~t c>f t:l1e il~cl~i~z~? ct.~t~.>`.
  ~v
             ~1.         1'1t~i~~tzEf~~•e;s~~c>~ac{ec~ tlaE~i:1~L ~.~~~c1eX•stt>c~ci h~. }~~~c~ ~:~ ~~is~ht fic~ step otrt c~~'l~~s ve~~icle; {~~~cl cc}c~tir~ti~ett
  `?{)


  '_i

  ~,         ~~.         ~)~t1117~1j~~~C~:1C~ 11C>~ Ut7t~E`L'51~17t~ ~}If3t ~E;~€'[1C~£~11~ ,~~~~~.~~~~~sN~'S 4~.F3~G111C17~: tt'~.iS t1 ~:t31'111t.3~


  ,;         ~c~~~~~~~.~an~~, but zr~st~;~c~ ~~~;<.ise~~~~~l~s1y a~~~,L~~~~ec[ ~c~ be ~~~~~:tarical st<~t~;~rac:~~t cc>~~aan~.~X~lcatizl;~ I.)u~ei~c~a~1.t
   >~;.      ~'~~1~'~I~11h(:}';~ a~~~a:r~ez~t az~~~er t(~~tt I'l~~.ir~.tili'd<~~•~.cl tc> exit hi:~ ~~~l~icl~; ~trzti rec:c»~c~ tl~~; ~~c<>~a~~te~~.
  ,;
             >~§.        I'1a.~z~tif`t`~1ic1 ~~c~t ac~va~~ce I`~~c~~~a }~i~ ~~~l~icle, l-s~t: ir~~,teacl ~~er1~~~inec! sE~x~~clixl~; still ~.~~itl~ lei
  ~f~
             ~;c~ll~~}~c~~~~; o~rt, ~,1c~~arly x-e~.c~~~~~ir7a~ t~~c: e:.nc:c~~~zst~;r. ~vl~ziclz u~~as a.nc~ i.s hip i;o~~stzt~ztin~l~l ~°i~;l~~t.
  ,;

  ~~;


                                                                                              II
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     i    5~.        l~e;feaacl~~nts Il~~tll.3.AN0 attct.~il_,ti,~#~E:;l tf~L~~ ~Ilysi.c~~Il~~ ~ait:~.~c;CcGe~l Plaizlti:(~'~3rt~d Ei>~~e;ec1 17i~~1 tc~

    2



          ~~,        l~ric~r~ to ~stt<~cicin~; Pl~~ii~i:~ff: neit(~er .I~ef:u~~d~ltlt Z:AM~3RAN(:) na~•:D~:i~;~~cl~~r~t .~I.,V~1.R.1:~"I_,

          i}l~~e~•vc::c~ ~'l~ziz~tifl'e~~~~a~;e ~~~ ~~ny Zl~~•ea€c~z~in~ c>t~ c~~~~~;et~ous ci~s~c~~7ct t17~t w~~rr<~c~ted ~tsi~~g [t~~~c~.
    S

          I'l<.~i~~titl'clici a~c~i ~~~~~1~c; izz~~~ t:17.~•eat~;rtir~~~; me>~~e~net~ts ae <.~esitxres, E~c~r. cc~~aa~7ar~tii~;ate ~~~~y ~~er~al t~~re;~~ts
    c,
          c~►• stat~~~aents t(~<~t lti~<j~~ld reasc>~~<i(~1~~ izaclicate tl~~~t ~~e: ~~~as a ciar~~;c ~• to hztnse;lf; t ae I.~~;~c:7~ci~.~s~ts; c»~

    x     ~tr~y~~t~e c:.lse itl the vici~~it.y.

    ~~    SE>.       Pric~.z~ tc~ attacici~~~: l~la.iz7tif{; neizi~cz° I~~;:fc;~~cls~nt I,~ 1~~1~3RAIti1C? r.1c~r IJeforx~~~z~xt ,~[.1Vr~1Z.T~C
  ~ r~
          i;~slrec~ ~rrxy ct»~~~~1z~r~d~ az• ix~structic7~3s tc> Pl~~intz~l; such that t}t~.;y c;<n~lcl zi.«i: ~~•ec~ibly l~~;lie~rc t~~Git
  ~~
          l'lt~i~~t:i.f`(~~~-its f~~(in~; tc~ co~xx~~l~r ~~~ith <.~~~y co~nin<3nds t.~~at ~vc~ulcf .ht~~~~ j~~stified r.~sin~ ~:c~r•ce t~r~ :E~}<.~int.if't'.
  ~?
          ~i.        I'Iai111if~' 1<~r~c~~ci race; c~ar~~lzt on l~i.s c.11~c>~~=s, v~~hi1~ cr~<i.Iir~~ ~~is cellpl~c»~e tc~ ~re~r~xlt clG~~~1a~w:e: to
   z ,5
          rt s~nc~ ~il.lo~~~ tl~e: inci<:le:.zxt tc~ 1-se: recc>~~<.~ec~.
  I4


  15      >~.        ~'1<tiY~tiff' ~~;€t c~r~e ofthe ci.efez~cl~~~~ts ._ eiil~er I3e:tex~if~~nt I~M:T:3R~'~I~',O c~z• Defenciat7t

   y z;   ~L_~'1~~t.~~,C -- ~r~.tb lzis ce([~r[~c+rye, ar~ci ta:l<L it ica~ra Iais t~tjnds.

  17
          ;~~).      l~la.i~~~if~lel~ curie c>z• l~c~th: I.3e:fe7sc~ants on ions c~f'hzs tc»•sc3, Icr~~c~lizz~~ c~7~ 1~i~ la<~c1<..
  z~
          E~().       I>efe~~cia~~.ts ~rc~c~;ec~ec~ tc> ~~u~~c~}~ 1.~IG~intilt'i~~ t~~c; I~eac~ ~.~t~cl. ~~sc ~ll,~~~~ st~~ikes oz~ P1~~i~~t:i4't"s ~°t~;ht
   1 4~

          ('V ~%.
  ~~


  ,~      (i1..      ('1<~~~~ti['t'~u1t one; oz~ i~t~t:l~ ~efe;r~tl~~tlt~ ~~usl~. ~lis t~c;~.~cl ci.t~~~t~ 4~~~c~ z°~rl~ 1'lair~tifi"s 1<.~ce ~t~~ti~~st: t:lac~

  ,>      }~Et~~et~tertt.

  ~:;     ~~2.        1'Iz.~intif'~' I:e.tt ~~°(~~~1 a~~~~c;~~~-~;~:i tc~ be; tl~e tip o~ ~~ 1~ar~ct~~rn ~~ress~;~1 ~~~;~~in;~t tt~e b~~cl<: c:f'leis l~et~tl

  _p~t
          <~~~cl 3~c,t.~~•c3 t~tl~ c~€'t~~~ I.)~;fc~~~d~~~t~, st.t~t:~;: '`I 4,c>E c.»~e iz~ t~~e c~~a~~a~7~r ~~~~~c~y fcar yc~G~! I:`II I~l«c~~ E~ 1~c~1~ .ire
  ,~
           %~}qtr 1~~:.~tc~ ;~r~ci sl~~~ll (i~cl~ ys~u in tl~e st~•eet ~az~.d your fart~ily ~~ill t~evc~~~ lcx~c>~~-!',
  ~~.z>
  ,;



                                                                        i'gt~tl~i_ ~11~;~t' E U~21?.~.tit:1C~t~~
                                                                                          f?
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     7     f>3.       I'1<~intitl't~epeatecl.ty st~ttec~: ''[ c<t~~`t bre~tllc,'' ~s li.c~_ c~ft~s stru~;~~(ixl,r tc> t~x•eatlle ~~.ot-~~~a(1~% ~~rl~ii.e

     2.    I)e(ez~ci~~~It. were c~t~ ib~~~ cff'1~i~n, ~pplyi~~~; ~~~e:<~t weight to I'l~aiz~(:it~`~ torso <is7.ci usi~~4~ fz~~~c~: oz~ 1~i5
    3
           h~acl.

           Cif.       I)~a.z~izi~ tV~e e~~.cc.~u~~ter, ~`1{.~i~rtiif`u~~de~•staxicl~ rind ~~~.4Lr~:~ hez•~ia~ t:[x~~~ c.>ne or tnc~~•e ~~ciclitic~~ial lstti~~
     S
           ~~~~i~t•cerr~ent c~f'~zcei°s ert~~,lc~~rec~ ley tl~e .[..:c3s tltl~eles C;c>ur~ty `~l~erifl"s L~epart~.~zet~f <~r~z•ivet~ ~~t tl~e scc~zlc~
    c>
     n     t~r~.c~ usc;ci fiss~ce ~~45aiaxsi T'lai~~iiE'f ors oth~;z•«-isL asszsted I~ele~~clt.{~~ts I~.M.I3.It.I~Nt) ~a:~~cl AI.,VA.I~EI i.n

           ~isir~t~~ fc}rce; c~r~ ~~l~~i~~~~tif~:
     ~~    (75.        De:l:c~~lcl<.~x~~s tli~~~7ec~ I'~a~~xti(f`<~ver cs~ztc> Isis l~acli <~i~d cc>~~t:ir~~~cl tc~ si.~°ike I.'taix~t:i:(f'in tlxe tc~r:;o
  ~ r~
           ~~nc~ €<~c,~.
  ti
           C~fo       I7~f°~~c~~t~lts t1~e~~ re:~~~~zt~ci~y t~seci a tEi~;es- ~~~e;~~~~on on ~'laintitf"s ~~aersai7, i~~cll~c~in~; hi.s r.i~tzt
  3~
           tlai4}E~ t.~~•e><z. I'l~~irat:iff`alle~;e;s .l~ereiz~ Cl~~.it tl~e, taxer t ae on 1~is x•i<r(~t i:(~i<:)&~ ac•~:a ~~-~s:; c~c~~ac; i47 "c1s~.ive stL~t~"
   ~ :s
           ~~~c3~L __ ~~~e<~~~~~~~. t~i~t the; taxer t~~;tat~c>~z ~ti~~~~ cj~~e;ra~ec~ by a~~~~lyi~~~; th {i•~mt af~tl~e t~ts~~• ~~~e~~~~c:tt~
  ~~

  IS       tli~•~;t;tiy ~r~ ~'It~it~tifi.`s bc~c~y, cb~cx:~i~~~ a st~.l~:~Ca~~tial ~1~;ctr~ical c3i~c1~.~~za~;er~~t:o ~'lai~~til'f.`s ~~~x~rscl.e ti~st~c; [c~~•

  j ti     t}~c: ~~r~z°~~c~s~ cif ~.n~licti~~~ ~~ai~~ ratl~e;r• tl~r~.~~ i~~t~;rx•~z~7ti~~~7 tl~e ~ibili:ty of ['l.r.~i~~tif~'io cc>t~t~•c~l (pis l:i~nl~s.
  j;7
           tai?.       1)c~ic;n<1<~~~ts 1~#-tech Pl~ait7ti~'.E"s packet 6~~tc~ s.l~z~•t u~ ~~,~lazle s~~~c~tl~e~° I:~e1e~7c~rt~xt fired a. t.~~~er~ r~~u~~~~c~s~

           c~z~ tl~e lc~i`t sic~u of°1'laintiif s lsag•e cl~e~t irt~ what ~'l<.li~~tifl~u~~~ersto<~cl ~c~ I~~: .,cla~•t" ~a~oct~ -- r~.e~2~~3~~~,~
  I9
           ~.~1~1t 1t~'C7 ~7<il'~.q(.'C~ ~~t`OjGC~:l~GS t~~('.I'f.' C~f4C~2%~1"~C:'C~ lllt() ~D~.altltl~~~~'S 1431'SC3, ~l(:11(~P'<t~ltl~t; ~~1(' 5~~121 i111C~ C{f;~1V(;I"1CI~
   rU

           ~~cfclit:ic~z~~~l ~;.Iectt~ical c~i:;cht~~~~;e irttc~ t~~~ left: sicl~ o~~~~is torso.
  ~~
  ,>       C~~;.      'I'la.e ~€se c~f'a tas~~~ ti~;~~~~~~c3n ii~ "c~~~z•t" ~~~c~cle cc>r~stit~~ie~; ~~ sz~;X~i.(ic<tr~:G l~ve;l c>(` fc~~~cc~ stic~(z tllai: <~n

  a:,      «fl~i~,~ ~•' ~ l~elic;f that t11~ t~~~~~~t t~~r~S~ ~_~~~~; ct>z~~~~r~itt~cl cox• zs ~~t .c•i.s1: c~~~ cc~~~~7~~i~.ti~~~ cit.~ae~~ ~.t ~~~i5~cir~e;aa~c>t-
  ,,
           ter x~~>s~~~ic3lez~t f~ic~rxy is ~~c>t itsel.[`:;~riliczent j~.~~Ei[icati~>.~~ to ~7~~~71c~~.~ t ~ tt~s~.~• ~~%e~~~~c~s~ suf`(ic;ic;z~t tt~
  ,~
           ~3►~«~rici~ ~c~r~gtitut:ic>r~.tzl szz~~~}c~ri t€~r tl~e ~;~e c~~~ tl~~ ~ts:;e;z~ v~-~a~~c~~~. {`ice F3z~i~a.~z r~iVlt~cPl~e~rsc~~~, Ei3{) f'.icy
  _'..fi
            {);~, ~2~ ({~tf, C'i~•. ?(?1.(1)0 ~~;e t~l.sc~ 1~~1e~~;clit[~z!`.__~w_zwatl~, ~'!~ ~~.3~~ I{}57> I{)63 (tltl~. C~i~•. ~.Ot)u~3}; ~~i~cxr~'~~~
  ,~;

   3 ,l'




                                                                           C'O\44'! 1tN'I~ t'(31t D:~,^.,3 ^~,Czt{a
                                                                                             13
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          t:;~~~tc;s, 27 I~.3ci I~.3?, t~42-1.~4> (;9fE~ C"ir•. 4.{}c)~); accc~rcl. E~c__~,t__t.~rt~~ fir. C.ra~1~€~c>s> 5?3 F~.3t1 1 1~1, 1 l.b{)

          (()1{)tip <~ir. 2t)t)~}; RecSc~~_~~~~xl~ert, S27 1~.3c~ f2:~3, 1.27 (l 111.E C~i~•. ~t}C?H}.}
    7




          C>9.         ~~'1~e'f<>rce i~s~cl ley t:I~L iticii~-ici~al :f.~ f~;~~r1<~rits u~~is nc~t b~~sc~<{ on ~.rny i~;0.}itirn<tte deed t:c~ cii~t<~in

          c;c~~~7~l~~lianc-e c~~• o~tl~er~~~is~; i~~ re;spo~~se tc~ <izl~~ ~~erc~iv~;~~- ~1~reat 1~u~(: z~~a~ i~~ste~c3 ctE~r~e c~Gzt~ cif ~~n~cz~ ar~cl
    s
           ~t-~€st~~~~t:io~~ €ha.t I'l~li~~tiff ~~~ten~ptec~ i:c~ r~co.z~c~ ~~zt.~:racti~>z1s ~~Ji[l~ Ia~v enf:c~~•cen~.e.x~t r~vit t:l~e i~~t~.>~~t c>~'
    c~
          i~1i~lzct~i~x~ ~~iil ox~ ~f~I.ai~~tiff.

    x      7t1.        1~1~e use c~['tf~e t:as~r ti~c.~:i~,<»~ o~~s t.lae; le;1t azde «f Pl<~is~i.i[f`'s chest ~ri.olatcs t}~s z~c>Iic,ies iz~d
    L~
          ~~~~ocec~~~~•c;s ~~c~~~~;x•r7i7~~r ~sse c~I't~~e; tase~~ wct~~c~r~ l>y ~~~Ur~~b~,~•s c~(`t~~u I,as ~~~,~el~;s C"c3~fz~ty ~i~~~•i.f~£";
   ~S)
          I~~~~~~~~tti~~rt~t, E~:~ it «ray r~~~;ll--es~hl~lishec~ ~~z•i«r 4.c~ t~!l.~~z~cl~ :tai, ?~?20 t}~at ~•e~~eatecl ~{sc~ c~I~ a E:t~sca~° ~.~~eEz~7~»~ --
  II
           ~:)ilT"tl~'ii~ctl'~~' 117. ~~IC: ~E'~t ~OI'ti(l tl~'c"tl' ~~iG ~lt;G~t'f --- Ct'l:`c'if~~ci ~~1~~1 ~'.tti~C C)~ SL:t"1{)liS 1"iGtIX'C>~t)~4.riC;~.1~. it11E{rC)I'
   I?
          c;~al'ci~cTvascc~l{~~'t~°~~~t~~c~ ~.t~~r~lat~.Cl to le~~.tz~~~~~tc; lam' Lnfoz°c~;~x~erzt c~(-~~ectPves rind c~'e~te;s %4 :~~~l~sta.3~taiil
   z :~
           x°~sl~ c~4~ It}t~~;-ter~az ir~j~~~°y, c~~4•c~i<.~c: az~x~est, <~zlcl ~c>i.~;~~tiG~I <:le:at4~.
  I~


   ~s      71.         'I'i~~•~~~.~~;~~c>~~t t13~ L~s~; cat fc~r~~° ley I~ef~:;~~d~r~.ts, ~'I<tiiltif4°cc~nti~~~~c~t3 tc~ s~;~~ea.ixa ~~x~<:( ca11 ft3~• f~~:l~~, ~~s

   t c~    ~~It.~intsl'('fc;~~•ec~ i'c»~ 1~i~ Iife ~~t~c~ s~~I:et~l ;~i.ve;rt t1~<.~~ lie; ti~~~~ ac~;c~st~;cl, be;<~t~;n, azaci ~~e~~eL~tccil}~~ s~x.b~~;c~.~c~ to

   ~?      ~;1c;ciric~~1 s3tcr~i<s ~y ~~ €e~sc;a• ~~-~;a.~~t>t~ c~es~tc, ~~cit ~rt~si~~~~ t:~ t~~~°c;<~.t r>t~c~~~~~s~e;r fo axz}~<>z~e.
   ~x
          '7?.          I.)efenc~a~;ts ~~az~cf~;~.ri:t~;cl Pl~~i~~tii`f`a~~ti ~c~~.tz~ct 17is leis ~~~it~~ ~ [zc>~~~:~5~ restx°G~i~~i,
   t t~
           "73.         Ia~i~~~c€taz7t~; tl~ez~ prc~~.c:ec~ec~l tc~ cc~~ztlE~ct ~ c~et~7ilec~ ~~ncl cor~~~~l.i;te se;~trc;l~ c>9`1'1<~.i.~a.tit'f°'s ~~~.liic~~;;
  :~o
           i;~°u~~ tl~oc~~il E~1~~.ir~t.if'I'~~~c~~ h~z~zr~c~~S~Eec3 <~~~c~ <~`~~~~y f:~•c~~~a l~.i:~ ~-~.l~icl;.
   ?i

   7,      ~1`~.        ~4~~i~~ti f'['sahlnits l~e~~~i~t that tl~z~ :~~~~•c:i-~ cif`l~~s L~e~~i.cic u~~~s ctc~rte I>y I}~.f~:.~~cl~tait~ i~~ c~rd~z~ t~~

  ,;       lc~c~~ttX <tr~}~ cell}~Pzc»~~; re;c«z~c~~r.~~;s c»• c>t:~ae;~~~,~1ise ~l~~ca~~er ac~c~ tike ~_~c}y~~~sic~n c~i`<~ny~ ~4.>4.~z~ti<~I ~~~ici~;xzc4~

   ~~~ ', c~°I7e;(:~;4~c~a~~.is' rnisc~}~7c~~.~cx, r~~tl~er t~~ar~ G~ le~itii~~~~tc~ ~~nc1. I~~~~~fi€l ;c~ar~;k~_ ~.>~~d~ ~%~I.~icl~ i~zc~i~:~c;~~t tc~ ~i~~~~~.wt.
   >~
           7~.          I'I~zt~tii~~~~~~is ~~~~~~~s~~c~rte~ci tc> tt~e.; C~'«~~~sz~L~~~ity I(c~5}~it~.~:~ c~t'.(~~.~~~ti~~~tc>r~ 1~<~~~k, ~~~l~.ex°c~ l~~ `~~~~
   'r;
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   a ~~    Y~stri~cte;c~ I'I~~it~tilf'tc~ si~~t~ the p~7~~e~•r~-curls. ~~~~c~ I'1G~intzfl res~at~x~c~e~~ teat 1~~ ~~e;`cleci tc~ lia~isl~ reac~i~~;~

   17
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    i       ~8.        Iz~ 1~►s r~por•t, I:)~:tc:x~d~x~t.,~L,VI~IZI:~I asse~~tecl that: ['.t~~i~~t.if~f'F.~d`~t~~7~;ec1. cs.r~ .[:)~I~i~c~<~►~t:

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            i~~~;1G~€~ii~~~ lout z~c~t li~~~it~c1 tc> t1ie; f~xlse cl~~it~~ tl~~t1: ~'I~zi~~till'~~tte~~~ateci t:c> fia~,l~t I~efe;t~ciar~t Lt~l~1~~IZ.nNC.)
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            ~s~l~e;z~ i~~ 1'aci :6~l.ai.c~trI'f.'~~~erely atiert»~tect to ~•ecc»•c~ i:lae e~zco~~nt~r ~~t~t of'~~:<l~• f«r ttis c3d~1►z ~~tfety.
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            I)~;(c~~acl~~~~t,~,~~[~31~~Nn i~7 c~rcic;~• lc> (:t):~t~stiiyr Defer~ii~xnts" ~~se c~f'viole;rit 1:'<>rce ~~~t~it~st: I'Iai~ati.(f~, a~~~c1
  19
            {,} ~f} ~I1CC3tA['~t4~?t; ~.~ti; ~1I2T1~ E?}~C:~lill'~~G:i %i~cilll5( ~~~il.ttl$1~.~~~C) C~1S(:t'~t~1t   ~.iliiltl`t~~'~s <~E'SCYl~~117i7 t)~ IVt;TI~S 11"I
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            l~~ttte~•y i~x~ <a~~ c>f4ic~°,~~ i~z vic>~atic>~~ cif ~~G~(.:~~€;~~. C'c~c~.c; ~ 2-~3{b) l~ec;€pus T.~efe;4~tcla.g~t ~11~.,V~R.~:?% 1.~~~;ti~r
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      i   ther~.l~t3~~c t~~i~y co~~~~ict~ion cif sr~ck~ ~:~ c~l~.~~r~e ~~=c~u~lii. ~zct ~s <.t pz~occdural bas- tc7 <~t~y~ s~2l~sec~ue~~t cEai~~~ by

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    ~r    ~e11~~lic>aat te=as re;t~3i~r~e;d to (~i~~~. The c~llpllc~~e r~~ii[~ ~~1liclz E'lair~li~1'att~;~~~}~tetl it> ti1~1~ il~e eticou~aier

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    ~~    ~~.           F3;~sLd <»~ De;(~,txcia.~~e t1I.,V~RE~L's rc~~ort --~ inc;Ic~cliz~~ the iG~lse; re;~.7~•e;se~~zi~.~tio~~s c«xat~zineci
   z i,
          ~~1~;1'~,111 _ Gl'ITllltli~ G~li3t'yx~'.S 4V(;C(' ~1"(?tl~;~l~ ik~iiiilS~ ~~~tilllT.l.~`~; II2GIUt~131~ ~1. C~1~11'~;G ()~~~)~~tlf'.1'}T Oil ~~~:4:'i1C~`c.113(:

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          ~:~1~~1I~Rr1NC:1 ~.~~~de;r Cali:(~>~~tii~~ ~'e~~~~l Cc:}cle ~ 24;~{hj <~f~d t~~~c> cl~a~•~Ls o~.~•~sist.i~~~ I3e;ier~cl~~~~t,

          l.~M.13IZfkN(:) atxc~ t~L'V~,.I~.I:~L t~z~c~~:~• C~~:lifc~r~~ia I'~;zz~~:l CYcfde ~ 14~(G~). '.l'.11ose: c.}~G~x~~;es were
  I~

          suhs~c~ue;txtly~ tiis~niss~cl.
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   15     E)~,          I)~~ri~.~~; thc: cc>ua~se c>t`t(xe c~•i~~~inal ~~~~asecuti«~z c>f ~'l.G~i~~titt'c~z~z t:l~e l~a.sis t~fl::)e,#_~;rxc~~:tr7t

   1t     ~~ [.:Vt~~t.~~,1's t~e~i<>~°t, thc; I~e:i~°t~claz2ts ~•e~~res~;s~tec! tc~ t~~e ~~ros~c~ii~~~~ ~3t~c~~~t~e:ys t[~~~t ~~<.7 secc~~~c~
   17
          c;e.l1}~hc.~~~~ c.3cvicc; ~~~r~~a:in~c~ its the c;L~stc>cly c»° cc~t~trc~l c.>.f t17~: I~c~s .~lr~~e(es C`t~ux~ty ~~~e;ril~ts :[~~~S~~~ttr~~;z~t
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          a.~~cl ~:~tte~n~}ts tc> :(c>II«~~~ ~z~~ ~critl~ ~c~t~liiaist~~<zt.i~re st~~{'f e~1~~7Ic>yec.! at j~~i1 :(acil.it:i~;s cE~t~~ir~r~.11~at E'I~~~ntil:'I'
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             ~()l.       "["1~~ ~ciii~r~s c>f~ I~ef~;rt~cl<~i~ts V[I.:.~~i~t:)ll~,, ~~t~ci ~~Ni:)()V(~I: --- i~~~;I~zc~i~l~; bit t~c~t z~~cess~~~•ily
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            €sit"11~1.~<',S C~Ltf~ ~43 t~1U ~}~1~~l.Cia~ lI7,J111"1~S tl} ~~lf:ll' ~~E',l°S<)I~. ~)S~'L;~1C1}t>~1C%i~ tTl~'t17, E;I314)~1.{)11i1,~ C~l:~f'["f:;4S, eitlC~

  18
            E7ai~~ artd :~c~€~~~€~i~~~;, Lc~r ~~-hic;[~► t[~Ly c€~nti_~.~~~e t.c~ s~;elc t~-e~.~ti~~cnt.
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            ex~~c~7~€~.s. I'i~rsL~G~nt tc} ~2 tJ,~.~~'.~~' i~)88 a~~c~ r~lr~ted stt~tc~tes, ['ltzi:t~~if'l~.is ez~titl~;cl tc~ s~e1c suc}a
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  7,        ~~e~zsc.»~6~1}le ~'e;~;~ a~7cfi casts r~~ <~~nc~~~r~ts s~kl~jc~;t to px~aof ~~t t~~e tine c>1'Cl°i<zl.

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            i~~c.l~~cli~~~; I~Iaiz~z~iti~. ~C3e~~t~~cla~~~t~' act;i<~~~s sho~:l< the ce,~~s~ie~c~; c~~'t~:l~f~ r~~%c~~•6~4r~ ~~~.rsE>z~ z~nc~- cc~.z~stitu~tr~ ~~~~
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            ah~~~~ c.>~~ ~~o~~rc;.d• t~~f~t u-~a~; ~~~~~li~;io~~s rz.~~<~ ~~~~~°~:>€>se;t~~.1 ~~t~I~ that ~~~zt~itzv~; c1<~t.~~Gt~;c;s ~~.~•c: G~llc~~,v~c~ u~~c3e;~° ~~~e
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            ~i~t~''. ~~ttf~1~1~'i' t~E'~~llil~c~4 i13`d~ a~1S;3"G~%~<)~t;' °~~Ptl~'~1~ t~~y4d.E1'1`~~ S1~C ~_~t':~:~~'lltlill'2(:~ ~~C:t°C3~`~~.11l~~ ~C) ~iC<7C):~.
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      2.



                     ~'t(~ .:R~:`I`I~3t~r (cif ~'f~l,~is~~i2~ir~ ~:~~'II, C'~) )1+; ~ ~2.t --~~) ~I~ESSI~.)$ ~~I+ ~IZl?E~. SI'I~. ~'I-~


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                     t~s t€~ 13~yfex~c~A~~~t~ ~'II..~~~~'~~,~f~~''~';~I.,,~:`(3L1~~' ~'1' ~~~~ I.0➢~ f'~~~~~~I,FS,ta~~cl ~.~~?i1~ I~~~i

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           1(}8.          '~I'~~c, Ca~Ii.Ef3xn~ia. C'c~r~stituti.oz~, A~•ticle;[, ~ 2 pr«~.~i<~es: "I?v~r~r pe,rsc.~n n~rsiy f're;ely s~~~:~zk, ~~~•ite.
      ~3
           ~.ot~c.1 ~S~c1~I~s11 lags c~z• ~~Lz~ sentin~~:nts c~~~ gall ~ubjG:ct:s .,.`' ~z~~ct 1~t~s (~ec~~ i~~te:rpreiec~ t<> die cc}~~~.isi:~~~t ~~itl~~
    ~~~
           t1~e; }~~•c>t~ct.ic,~:~ at'f:c~z•c~e;ci untie~~ tlic F it°~;t ,~t~ez~c~t~~unt to t~~u IJziit:ecl S(.<.~te:s C"i~.r~siitcGtic~z~ ~~~ iil~ ~ c.s}~ut;t is€~
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   ~~      sts~t~b C;c~tRstit.u(:~c~r~s ~s «-~~ll ~s 1~~•ticle :I, ~ 2 c>~'tl~►e; C;~~1zIc.3~•~~~~~ ~~~nstituti€~~~, ~,t1~ ci~`~ti~l~ich i►~.c1:Gcc~c t:1~
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    I t;
           1(}~;~.        C`al~fc~~•n~.~.~ Ci~~it C:'c>c[c, § 52.1. -- re;C~r~~~c! tc~ as t4~c `°'T`c~~~~ ~i~~~7u C'i~~il IZi~;l~ts ~1ct,, -_- al(a~~~s <~~~.~
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           i~~c~i:~~~ci~i~sl i:c~ l~~~i~~~; ~ civil ctx~ir~~ a~;~.izast ~t ~;o~rG~-tx~~~c;~~t Gtct«r tiv~~~o 4~e1~ i~~t~~-ferect ~~~~tl~ c~z~ ~~it~r~l~~t~;ci to
   r~
           xz~.te~•:fu~•e r~-ith tl.~c: exec°c~sc c~~- ~~~jc~yt~~~xzt <>1'r~aY}Its yec~x•~ci by 117e ~~Yc>r~stit~~Tic~n o~• la.~~s c~[~t~~L tlz~itc;c~
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   ~o      ~tate~, c>e o.('~•i~t~ts s~;c~.ireci ley the (:'c~t~~titr~tion car la~rf:~ <>t'tl~e Mate c3i C;alifc>z~~iiG3.

   ~>. t   (~().          (:)~~ c»° ~~bc~ut Ivlarch tt), 2~?(}, I~~1'e:~~c~~~~xts VII_..~1.Nf:}VA ~.i~1ci S~ItiII)t~}V~.I., i:t~te;~~fe;r~c~ ~,vztl~
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           f~~•oz~t c~~~ Pl~~ia~tif°['; ~i~~~t il~e;r~ tl~z°ea~~~~r~,c~ l'1a~~~ttili`~~rit4a <~~•~•~st !'c~~~ ol~stx-~~ctic~r~ €~I'.jl~;;iicc. ~~~ch [~~~ra;;s~x~c,~at
   ~t;
   ,;      a~~c~ t1~re~~t <>f'K~rrc,~;t: ~zt x•;~;}~o~~s~ tt~ tl~.e e~e,~c;i~e; «i4 ~ro~e;~:te~f Isir~;t: ~1~~~c~~clr~zca~~t.~•iM>lzt~; cc}~~~t.ii~~~c~s <~.

   yS      r~ic3~<.~t.zt~~~~ cif ~ '> ~. f . t `~c;c (, ~iti~c llt~ ~ C'.ity ~~tx~~ C~c>~~~~~(~v c3( ~~a~~ (r~~~~_~~~t~~~, ~~~ :[~~.~t~ 7~~.?~ I ~7 ~_. ~ 1 ~~z


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     i    ~ F.N.I . C.`{~~. fit)l 3); sce also E?~~z~is ~~. C~ity c~i' l::)tzty C'itZ~, `75G I~'.5~~~~p.2c~ l 17E), :l 177 (N.I~. {~a.(. 2t)1 E?):

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           i 1.1.        I)~~z•ii~.~ t1~tc e~~co~uz71:~.:x• ~~nc~ as a di~•~~ct ~•~;gtitt <.~f T~elend~~~3t ~IILAN~OV~ ~3tte~~tptif~~; to

           ~~1~~=s.ic<~Iiy ac~o5t ~'l.ai:~tt.il~; .l'Iait~.ti.ft~~~e~;a~~ z-ecc~~•cii~~g the cizcc~lrz~tcxz• usi~~~ llis celi~jt~oz~e; ca~1~u~•~~. I7~
    <.,
           ~•~:~s~~~r~ge, I~~;fend4~xxts ~~~c~c:E~ec~ P:(~inti~`€~t(~~~~ D~I~e~xdant~ VI.L~~~Nt7V~ tc>c>1~ t~~~~; ce11~~}~t»~~ frc~ln

    u      1'I~ait~tif`('~~t2c~ te~~~~~~~~atea~ the r•c:cordi~l~ ~~rior t« I~e;fe;c~clag~t ~.~NI7t~V~[_. 5ca~~c;l~irt~~ ~'1z.~inti~I; re~nc>r~ri~~

    ~3     I'lai~~tzf~1":~ «-a[.let, G~xld then. t:c~ssixa~ tl~e cc>~~te~~(:s ore the 4.~rc~und. I:~~l~l~cla~~t4 V.(I.,~..NC)V~ a.~~ci

           S~1~C)C)V~~I;., then tl~rs;~.~texzecl Pl~ar~~i3.£f`~v.it.l~ a~xest f:c3t c>l~str~~~;txe~n o(:°j~asi.ic~.

           1 l 2.       'I'1~~. acti_c~zzs of De:(-e~~c~~~nls trlL./~N(=)V;~, ~~r~c1 S.E~I~I:)(~V~L we~•e sul~si~~~~tiaSiy r»c~ti~~~.it~.d Icy
  ~~
           I'I~~i~~ti~lys decisic>ri. i:c~ ~;xez•cise 1~i5 ri~~~ts uildux• t1~G I~iz~sf: ~r~~und.~z~e~zt ley ~°~:cc~zcii~~~ t1~e ex7uc~ti~~i:c~~°.
  ~:3
           113.         'I"tie aci:ic~ns c~i'II~e4en~ft~t~t~ VI .,/~,N()V1~. ar~d ~!~NI.~f.)V~L, c<>ttstitazte; ~~ic~l<.~tia~t~s a[~
  i4

  15       C;~~Lzfc>x~~~ii:i t;i~%zl (:"cxiL § 52.1 1~ec~zuse; t~~e; c:onciuct alie`.3;ed co~astiiut~°s a~~ i~~t~l~tioT~.al v~c~lat.ic~n cif

  ~ t;      r°c>€:~:c; ecl ~ai~;(rts tl~~~:t ~~t•~ i~1(~e~~c~ntly i~~ii~~~icl<~tiz~~ at~~~ coe;►•ci~~~ by vii°tu€~ ~31't~~e vic7l~~t.ic.»~s tl~~~~~sclt•~c~.
  ~~      (`~e~; C'r~r•rrc~ll ~~. C`ity c.tf'~SrrJa l~i•arrc~rsr.°{~ (~?(}17} 1 % C~~~I.1~~z~.Stlx 7Eif~, 501_~i{}~.)
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           I l~.         Thy actic~n:~ r>f.'.I7e;t~~nc3~tit~ cc~~~sti~zxt~.c~ ~ "c:l1i(li~~~ ~Ii~ct,, c~~~ Pl~~i~~:ti('1-s' ~-ityht fc~ 4i~ccly~ s~~a:(~
  z ~~
           ar~ci Seri%~;c1 i~~ clisc:~>tr~~~~~ c; ~'l~~i~~ti4'f°s ~~z~c~ c~tl~c~~~ ~z•c~~n axe tcisi~~~; th~~i~• free s~~ ~;cl~ ria=~~t:~ its thu }}res~ncs
  '.(?
           c>1.'~.~~i€~z~~er~s al`i1~e I.~c>s ~n4~e;les C;c~u~ai.y ~l~eri.(f~"s I:)e~~sarG~~~.er~t, i~~c.luc~~z~~~ ~uC ~~c>t l~nrtite~i tc~ tl.~e ri~;lzt
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  7:~      t:c~ .x~~c;c>r°c{ e;r~cc>u7tte;~•s 6~~itl~ la~,v t;~~forc~;z~~ent:. f1~~}7 rca~on~l~.l~ }~e;~~sc>~~ si~~~~Iariy sit~~4~te;c~t ~~,~c~ulc~ lzsa~~e

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  ~,,~ ', a ~~7c~l~it~;e ~r~~:our~ter zf`tl~.ey ~re~re al_:~f> ~~r~je;c;tec~ tt~ rc;t:r.~li~tcsry ~~~iscoi~d~.~ct i~~c.t~~c~iz~~ ~.~rlj~~stit~icd ~L:a~•cfi
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  -~ I c3I~ ti~i:~~~• ~~r~;r5c~za, threats t>~' ~~~~~~°~;i:, ~~~e c~:(~ ft~sr~;c~, <~x~c~ ~~:ci~s~t~ic~~~~ c~~°s~ric~~z;~ cz~izniz~<~I ~~xiscc~nc~~zct:.
  7.E,
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             ~ f.5.       As <~ ~~i~•ect ~.~~cl ~~i~c3x.ir~~~~-fie ~•e~;Ralt cif Defer~c{a►~is' aetic~a~s> f'1~:~~~ti~f h~.~s s~~i'~e;z~eel ~~,~~e~~al
       z    <~<~~na~>;e:,~ c1.~~c fc:~ ~~sycl~c~Io~;ica( ]~tt~•z~~, e~nt~ti~>~Za[ t3i~l~~ess, <~nci ~~<~a ~.►t~ct g~a.fl~~~i~X4~,, {c>z• wlzicl~ t:lac~~

            cc~z~.ti~cae tc> see;k tr•eatx~~e°►~t.

             l 1 {}.      I'lainti4f'11~:2s i~acurr•~ci, ax~cl v~-i1( cc~~~tin~~~° tc~ iz~ruur. ~°easc~t~abl.~ atto~•~1e~~'s fees, costs a7~ci
       s
            ~;x~~ezt:~.~..I'ursua~~t tc> C~a.l.if:c~rnza C'i~~il C'c~de ~ :~2.:1(i) c~t~ci 7°el~.~t~;ri. 5tatc~tus, l'1~~intif~(~ i~ et~titleci tcs ;;~;ek
       c;
            4~~~c~~ r•~~sc>~~~.~bl~ ties ar~c~ casi~s i~~ ~kn~c~~~ni~ subject t<3 }~z•E~<3~f at t(~e t~izaac E~~.'trz~tl.

            1.17.         "I'I~e cc~x~cfuci: c~.[`t(~e I~etcr~.cia3~t.s a~; dc;sc:~~it~e:<~ 1~e~•cin rep~~es~;~~i:~:c~ ~ ~~il.11:~al. artd <;onscic~us
       ~a   clisrca~~zci fc~~~ i:(~c; l~G~:~ic care a~~d treatznex~t c~t~~~~~.i~~afc c.itizet~s ~-itEtixi t}~t;,ju~°isclictiE>X~ c~[`the (:'ity af'~~r~1
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            t3~;r~»rcliz~a, iz~c(~~cti~~~ I~~~t t~c~t n~cess~z°ily 1i1~~.itecl tc> I'laintiff:~. I3efenda~zts' actica~~s slic~c(~ tl~L
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            c€~r~sci~tice. t~~~t:11e a~~e~~a~e; ~~erson ar~ci c;c~~stit~ate ern ~thuse c~f~}~ow~t~ tl1~~t ~ti~tas ~nalic.iai~s and
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            ~>ur~~sc>~~;:(ul suc;~z tlx~~t: ~~i~x~~tr~~L cla~~~~z~es ~~i°e allow-ucl u~~ci~~• tl~e la~~. I'~rniti~~c; cEa.~~7a~~~;s aY•e tl~ea•eE~>z•e
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            sc~t~~~~t a~;~it~~~ the ~3ef~er~c~~.sr~ts ac<:t~~•c1i1~g to ~rc~c~f.
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   JS       1.1 ~3.       I..)c~#unc~at~.ts ~~c:~'tc~~'~z"x~d tE~e; at.t~r~.t~~er~S:t<>~~~:d t~=r<>~~~iiil acti:~ tt~ the cc)~~r'sc~ and sc;o~~e c)~'t17e;zr

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            ~'c}cle; ~~` ~ 1 ~.?, tlz~ cc>~~ir.~~orz la~r~ do~;trix~c, c>1'L~e~,s~~F~ra~l~:~cxt {S'rr~c~r•ic,r•, ~~~ct ~•c 1a.t:ec~ case (~~~u, De1:e roc{<~~~t
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      2      1 [~).         I'1{~.ia~ti~~`~~~;-t~13e4;es, G~dc~~~sts a.x~c~ iXlcorpc~~~L~tes tl~~; ~re;c~tli.t~~; ~~ar~a~~~a}~.t~s as ~f`fu:ll~T get fcz~•t:I~

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             1 ~f).         ,~1t tl~e t.iFl~~; c>.E'tl~c iz~ciciu~~ts as set: tortli in t1~~. ~~~le~•~.~~er~ts ~ab<.7ve, tl~~: ~°i~T}~ts o.f ~3ct•sc~.ns ~vitk~ir~

            tl~~.j~,~risc~ict~arx c>f tl~e t.l:rtiiec~ Statcs «f,~znL~•ic<~ t~t~cl~~• t1~e ~toL~t°t~;e.~~il~ t~~~~~ridzr7ent: tc~ t:Ete C1►~itec~
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            seiz~~~~es ~~.t~c~er- tl~e 'c~t~z~il~ Amerrd~~~e~~t ~ti-as in full :fc.»•c~ af1c~ e{~fect. ~i~zci t~~~. iz~x~iivicl~~t~l deterni~~~~t

      ~>    ~~-ha erx~;~s~;~jci in c<~r~c~uet, as set f«r•th t.~ba~~e, c~e~~ri~ruci I'1~.tif~tii:I'c~:E~l~is cox~stitutic>.~a~z( r►~,llts, ~~j}~icl~

   ~ r,     1ri{~latect tht.~se z-i.;~h.ts, <}~3c1 ~=ic~(~.tec~ t11c; I~c~u~•te~;~ai:11 ~'1~~~enci~~~ieclt tt~ tt~e Cl.z~iteci ~t~ztes Co~~stitt~tzox~.

  II         l ?:l,         C).n 1VI~~z~ch :(E), ?f}2f)9 ~v1tz1~; c~ue5tio~7iri~; ('la~~ti~f'.i~~ <ts~ z~~~~az~ent att~;rn~t to t~t~t: ~'.l<~i~~ii(~f tc3
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            ~'Iaix~~tifi; ~o~~r•ch_€;c~ l~i~ ~~~;x-sc~~z, t:oc>k Isis ~~all.et, az~e~ i:c~ssed ifs co~~t~i~t~; o~nt~ ~Cl~e ~~lf~a~r. I~e~l:er~c~~►~t
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            5.~1~I~(~ljr'~I., <{z~€ Sc> ~~-itllaut ~~c~~.~~~issic>~~ ti•c>~n I'lai~~tif'f; ~~~~y re;~s«r~al~lc~ 5~is~ai~ic~t~ of`cz~iz~~i~~~:il
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  ib        t~-~'c,ri4Yc~oznMa, c>~~ given tka~; exisfiE;nct c>t'<~r1y a~~tict~lable ~rtct~ t:c~ ~c~~~s}~t>z~t a I~~lie4't12<.~t I'l~.~i~~tif't'~~~~~ <~r•i~ic:c~

  i7        c»° c>tl~e~•~~-ise ~~os:~ess~cl t~ ~~~ea.~~t~t~. 'I.~l~~s coz~ci~7c;t ~%iol~tecl P.lai~~tx:(`~"s ~•i~;ht u~ic~~~~ t(z~ :F~o~.x~~tl~

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   ?fJ
            ~~e.tez~~~~c~f ~%~NI.)C}V.~,Iu ;~~ ~aex~fc~~•z~aiz~~r ~~n illu~;<~I SeG~~•cl~ at~c~ se:i~x~•~; c~I` I'Ia:int.ifi s ~>ez;sc>ia by tc~~•ci~(y,
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            t1()~ ~7(', t~1C~f`El t',~%tC~~Tlt`;C' t)~ .~.~(;~E;11t~illl~ ~~s~~~~}V~~~_., ~)~t~rS1(ri.~~.V ii.C%CC)S~:ITI~ ~~~£11.1.1~2~{~itt1{~'itiFit"C%~"]li"tz~ }11111
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     i 11?~.           ~1s ~~ di~E;ct a~~ci }~rc>x.i~~~~t~ ~•~s~~lt. cif' C~~;fer~c(at~ts' actic~~~s, I'l_r_}i~~tiCt'lt~ts s~.ifl-e~~;d ~~;c~e~•af

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          d~~~r~~~~;e;s dt~e to ~1~~~~,ic<~l injut~ies. ~7syc}zolc~gical 1~ar•~ri, e;~raoticon~~i disi:~•ess, ~ncd. pain a~~ci sufferil~w, E<jr
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          l"?~.        A~; a c~ire~t G~nd ~~~~c~~i~~~ate; result c>f't:)clenc~a::its' ~~ctior7s, k'laitltrff'~zs e~~ts ~cot~ola~ic c~tr~~~~.a~;es
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          ~l~~t l~a~~u t~ee;x~ ~~~cc~rr~;c.~ ~i~~d ~r~~i(1 ec~nti~~u~ to t~s i.7lcrrz~recl iri t.h~; .fu.tz~x•e c~itia .x•uspect re<.~st~tzt.~biy
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          ~,.~:ces~~.i.~~y c~~ec~:ic~.~l. tx•e<.~t~nuz~zt f<>r tl~e ir~jc~rie s~:~`t'e;~~eci dui icy :~~~fc~x~cl~ants' s~ci:.io~as.

     u    1.2C~.       ~'lait~tiff f7~~~ it~c_urr~d, d~nc~ ~~~x(1 cE>t~tiz~~~c tc3 in~~zt°, t~c;aso~s~rf~(e attart3e~-'s ties, c«st:s artd

    9     e:~p~X~sc~. I'~~r~;~~~:~ttt tc~s 42 LJ.S.C~. ~ Ic)8h <~~~c~ r~l~tec~ s~z3.t~ltes, ~'Ia.iz~.tif1'is G~~tit.lec~ tc~ see;l~ such
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          1 ?'7.       TI'.1~~ cc>~~c~rrct of lae I)e~'enc~~~~~t~ as i{~;gc~~zl~ec~E h~;x•uz~r ~•~;}}resented ~~ ~~,~.illfui axed cc»~scic>us
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          t;C}I1SG1t;11Cf'. L)~~ ~;~1.~ £it~~<t'~14~f: ~)et5(1i1rlilE~ E;{?:[1S~11U~t; ilil %~~}LISt; 17f~ [)C)1Vt',.l° Z~1cl~: t~'flS .tTlt~11C1011S 'rti1C~
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             il•c~~t~ hii~~ G~x~c~ terrr~i_r~.ati~z; ih~; r~cc~.~~cli~~~~ <>~'the i~zcic~c:nt sea tl~e~~e; would ~~c~i l~~ viclec> evrc~eczce cif
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  i2
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         ;~tat~:.s C~c}nsti:tutic>~~ to cit e ~~~•c>cuss of°IG3w G~nci e:c~it~.~i ~~rt~c~tect c>t7 c>f'tl~~ lags anc~ ~~~icler t(~e .~~izs1:

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            ~r~ciic;ate; tt> I3Lf'ciici<.~~~ts Z~M.~I2.~N(:) ar ~I..t~.~,IZ13I tl~~~t: P(bii~xt:iff`p~e~se;ci. ~rt~ i~~~rz~e;di~~te ci~~~~~e:r to
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            ~°~«lice e~~cour~te.~• ~~si~~~ leis ce;ll~~hc}rt e, e~~hxcl.~ cc»t~tit~~t~;s ~~etaliatio~~ i~z ejic}(<it.ic~z~. ol'tl~e F~i~°~t

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  IG        t:t~fc~rc~;~~~ezai: f(~z~ f'ea~° c.>f't•eta.li~~tc7ry ~laG~se; ~y lt~ti~~ enf~?~•ce~17.~t~t a:[f:i~;ers.

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            ctax~~s~~Tc;s i~~ tl~e; fc~~°zap c>f~~tlec~~ca:l cc>5ts iz~c~~.1•r~ec~ f'«r tz•e:at~~~~;:nt cif tlt~ir ~71~.`1szcal. ~~syc;ltc~lc>~;i~;<~1 ~~»c~
  19
            crrxc7tic~riL~1 injt.~ries, iz~ <~tnc~un2s :;~~l~je:ci t:t> ~~rc~c~.(~ ~~i: tx•ial.
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  ,~        l ~~7.     ~~ ~t c~is•~:ct ~iz~ci ~a~<>xi~a~~~Ce x•~;s~(i: t~t~[7~~en<l~~t~t~' ~~cti.o.r~~, ~'lai~~t:i{°f'[~a~ suf`(e~•ec~ ~e;l~~.x•~~l

   5.=      clE~~~~<.~ ~,es glue; tc> tl~e, ~1hys►e<tt i~~~{u~•i~:;s tc~ t:I~ei~° ~~c;~~s4>zz, ~7~yc,}xc~lo~,Ti~s~I ht~~°~~~~, c;~~~c>tic~.r~t~1 clistres~, <:~~~ci

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            <,~.~~ter~ges, I'u~•~;c~~~~t tc> =~? E.7.~.C. ~ .tE)~8 tx~~~1 rclE~iec~ ~tatz~te~, I'l~iz~zi:i{f4 is e;~tt.itlec~ tc> :,~;ek: s~~c(~
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       r     ¢.=~9.       "I'I~e cc~~~d~~ct of`the: l)e4e~~c~<.t~lts ~~s c~~scribed laere~~ ru~~t•esenteE~ ~a ~vi11~i~1 ~~~~c~ cc~nsc.ic~~:~s

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            abuse c~f'~~«c~~c;r tl~a~ was x~~z~Iicic~t~s arid. }~ut~~c}sef~il sz~cl~ t~~~t ~7uniti~%~. ti~~~1~a~;us a~~c: s~llc3werl c~ncler tl~~.
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            lar~~. I~Lxt~itive cla~~~a~;es G~~•e i~z~re:f~~r~e sou~t~t ~~L,~i~~~t tl~e l)u{'er~c~<xrlts <~ccc~rc~i~~g tc~ prac3f.
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            tla~ ~~•atectic>r~s s~ft«rc~e~t ender tll~ I~ii-st .f~aa~e~7ci~nc°~~i tc~ tliu I.)~~i1ed. Statu;~ C~c>nstit~ation ~-ittX .~•e;~~~e:~t tc~
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            f~•~;ec~c~z~~ o#'s~~eec;l~ azu~l ti•c;e:c~«r~~ fz°az~z re#a1~<.~tic>n ic~t• c~e;~~czsi.n~, i:l~~ t~.i~ht tc} s~~e<~1~. A~ all ti.t~~es
  as
            ~aartte~•i<~1, I'laintif~°~eJas l~~ally c;r~.ti~Iec~ icy tl~e ri~;l~t t« i~°eutti~ s~~e.<~k t~z~der th.~; ~~it°;~t: ~1~~~c zxc~~x~~:ni tc~ t1~u
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  _' c      iz~clixc~ie tltt: rt•r~~~i c3.£` t~ ~ar.iv~~te c;itiren tc~ rccc~z°c~ a.~~ ~;nc~~ur~t:~:r• ~,rith 1<~u7 ~°~~1_cxrce7~le,~~t.

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            i.~rt~~~ie;t-e r~-itli the i;xerc.i~e f.>z° e z~jc~yx~~.e~~t c~f'rigl~.ts si;cu~•c~c~ ley tt~e C~i>zlst~tut.ic~n oz~ l~~~vs c~~`tl~~: CJr~ilec~
  ,;
            ;~t~~t~~, ~~r c.>f ~~i~11is sc~ct~t~~;c1 t~~~ i:l~e ('ox~stit~a(it~n c>t• 3t.~~~~~ cal'ti~e ~tttt~: c~('C:Yst1I1c»°t~ia.
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    -,      1:>3.             t~r~ o~~ ~~(-~i~~~t 1!%lcit°c.l~ 13, ?()2{). ~.~~.(~~~cl<~t~t~; I;hMI31~.ISN<.} G~~~c~ lII.~VAI~l=1; i~rtr~~e~~i~~te~(~~ ~.i~~4:i

            (c»~rt.Y ir, ~~e:s~~c~t}sty tc3 ~~I<~i5~.tif~~'4t.~:~~~~ rZ~ <?t~E t}~'1~~~; ~:~~,1~~~.?~, dtr~cl <~t(e~~t~~i.it~4~; t~~ t-c;ct?t•~~ t1~~; ~~~~cc~~.it~t?~r t~~~r~~=,.

                                                                                         c~c»-ri~~r.~.afv ~~~ c>lz »-~r~~~ac,F~
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    7.
          #_<~~~; a►acl l~c~ci}-, ~~z~.c~ ~~~~~e~teciiy ~rsin~; ~~ t~~se.r r~~~ea}~c~t~. i~~ a mtt~r.~~er t.}~L~t ~~.i;;1c<°c{ c~~t.nc~cesst~~•}T ~~c;ur€~lc~~;ic;~al.
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          ~~~~~~ se~~~~ d tt> t~iscc~c~ra~ ~ I'.(a~nfit'€s ~~~lcl E~tlxez~~ {rc~zzl e:xe;rcisi~~~; tl~ti~° (i~~e spe~;cl~ z~i~l~ts its t~~~ ire encc
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          c~~'~~~eY~x~~ae;rs c~~`t~~e; ~.,c>~ /~~~w,c;te:s <:~c3~~~~ty ~t~~°rit`f`'s I)~;}~a~~t~~~~~~t; .i~zcl~Fc~ir~~; lout ~~c~t ]i~~~:itec~ to the ri~I~i:
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  ~n
          <>#~ tl~ei~~ ~~ez~s<>~x, t.~~~~eats i.~I~ ~~~~rust, ~asc; c~1 ~~~r~;e, ~.tr~.c~ ~cc;~:~st~ti<>~~~ c~1'sez-~a~~.~s u~~i~a~i~z<il s7~iscc~c~cl~~c;t.
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          ~~~~~•t:~cu1.<.~:rly ~~~I3e;re t:~~~; ~~~.ear~s u4~;ci ley I:)e;fe~aci~~~~~ts i~~tc ~~l~;re with t1~e ~.x~;~~~:ise c~~'~~~ ~ctiz its% ~~~•~~t~ci~ cl
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          ~~~~c~e~- tl~e Fi~~:~t ~i~ne~~~t~~~nez~~t ix~~=c~l~~es vit~l~~~cu. {5~;~; t::`c~i~rtcll ~~. f~it~y E~/'~~~r~r l~ti-~~raci~sc~e~ (~O1'7} 17
   51
          C"~t.l.~'~~,~3.5t~~ 7C~~}. 4{}i-K{)~; sLe ~3~;c~ ~ ~~r~is_~~.. C"itv.c~l_I:)~t(y C:~itv_, 7~(s :(~.~i~~~}~.2ti 1 17(x, .I 1 I7 (~.:t.3. ~' ~1.
  _'.f)
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          ~ 57.            n,s a c~i~•~ct ~a.~~<3 ~rc>x~.r~~~.~tc ~•~:; ~~lt cat'[)e~~ziclax~t~' tYetio~is, ~'1<.~ii~tiff'I~.{.~s s~~f'I~;reci gc;z~c~~L~:l

    2
          cia~na~Gs c~t~e; to p~ycl~olu~ica.t 1z~rz~~; stn<~t~it~~na:l clzst~~ess, ~ax~ci. }~az~~ at7c~ suf~e~°i1~~, t~~r val~icf~ t:1~ey

          CE)tit2(~ll€' 1C) SG~~C ~1"(;t~lillullt.


          ~>t~.            f~S i1 (~II'G'C~ ~~12C~ ~~l'<)Y1111t1$(; t'f:S1171 t)f`~_)C~tClCiill~CS' r~C'.11t)1.15, .~~~~i.lY1~If~~~1S9(:I'tS f;C().il()1111.0 C~ilillfl~;k=ti
    5

          ~~l~t Lt-l~~ 1?f; 2't'f~5t)tl<~~~~/ 113Ctt1`l'GC{. lll C)~)~;i11T11i1.ar, 111fC{(G~.t~. I3'G't1~t17(;lil t1~:E;t~G(~ itS i~. i'L;Slt~f O~~t~l£'. ilC~7Otl5 t)~
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          T~~;1e7~c~t.~~~t:s irl c<~usi~~,~ it~jl~z~y tc~ 1.'lair~iif'f:

    K     1 S~).           f'lairttif~`1~~~s i.~ic~irr~ci, anc~ r~.~ill ec~nti~~~~c; to i~1cu~°, ~•e~~sora.~.~1~Ie attc.}rn~r~";~ fees. casts ar~ci.

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          .~a~clz re<.~sc~~~al31c; i~:;~.s az~c1 casts izl a~~~o~~~xts sz~bjec;t tc> }~roc~I' <~t the ti~n~; <.>f't~-i~l.
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          ( f~E7.          '.I`}~e co~~d~~et c~i`t3~e l:)eI'c;x~c~~ints ~~s c{~°scrzbeci l~c;z~ein. z~L~~resc~~~tec~ ~a ~~-il.l~i.~l <~r~c~ cc»~scc7~~s
   ~?
          cti~re~;~~~•c3 fc>r tf~c basic c~.tre az~d t;~-eat:x~~e~~.t c~F~~~~ivG~tu cztz~e~~;~ witl~ir~ tl~e~~r►aisclicti~~.n cif t:lz~^. ~`it;~- c>f~a7~
   ~ :~
          I3~;z~nat~c~s~~<>, itzcl~~cli.«~ but trot ~Zec~ssa.ril}~ lir~ite~~ fic~ I~Iaii~tiffs. 1.3€;{ez~ci~rtt;~' ~.ic;tit~t~s s~~<>cIc t}~e
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   a5     <;c>x~s~;ienc.~: cif flee 43.vu~~~~~e ~ex•go~~ z~z~cl ccj~astit~ctc~ axa ah~~.~;~ c>:~ ~~ro~~%e;r t}gat ti~-~as ~~~alic;.i~>~~,~ ancf.

   ~ {;   ~~~rr~<~s~.~kial sr~cl~~ ~tlltzt~ ~~z~r~itiv~e ciar~~~~~;es ~zre a:Itc~r~~ed ~~~nder ~C~e ]ate=. ~'crnit~i~~e c~~~x~~~7~u~ ~~rs tt~~a•~4-ors

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          1(il.            I}~f°e:txc~~tr~ts ~~e~~fcarz~~~;c~ tl~e; of°o~•~;~Z~e:~7f~c~rt~ed. ~a~~•«t~~;(u.~ t~.ct:s ix~ tl~e co~~z~se; <iz~cl scc~}~e c~~~tlz~~x•
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          es~~~~lc~y~~ae~~t ~~=itl~ tlxe I..,os .~ix~t~;e(e;s CVt~l~x~ty ~I~erifl"4 ~3e~~a.rt~.~~et~t. t'r~x•s~.r~~~~t ~o (:"ala~c~rk~ia Gc>vc;z•~~i~ae~~t
  ~«
          ~yc>cie: ~ ~15.~, P~ac; cc~~~~~~~c}~~ iai~~ c~«ct~•in~ o~'I~'c~sx~c~r~r~lc~rrt S`r.r~~c~s~r.'or-, az1c~ ~•~l4~tet~ cX.~s~ .1{~~~r, I:)e{~;~~c~ar~t
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       2                                         ~'t£~I.,~~'~'IC)a'~ £~~4 t'I~'I,It~C~i-~`~'~S ~.)i~~)I.}Z 42 t1.~.~', ~ I~3~3

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            the I~o~~rt1~ ar~~u:~lc~ment we;~~e i.r~ f~11 ft>~~ce ~~~ld effect, ~7~d the i~~cl.ivi~lu~.il c~efer~c~az~t;~ ~~=h~ en ~~~e:ci rte_
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   a~       corsc~~xet, as set i:t~~~l~ ttbe>~-~;, c~e~7~•~~%ec~ :E'l~.ji~~tii'~"c~f't~~<;ir cc>~~stitut.ic>ztal i•~~;l~ts, ~~r~~ieh ~~ic.>la.tei~ ihc~se

   z :~     z•i~;ht~, ~~~~c~ vi«I4~ter~ #~1e l~c>ut•teLnill <1~n~nc~~~~ez~.t t<> the U~~itcd ~t~tes ("c~~~stitut.i~r~.

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   IS
            ~~ ~•ec~ 1i4~ht. I~}e.Ee~~c~G~~~t ~.I.~~I.r~.IZI~I lc~ok~cf c~ire;ctly ~t I'lz~i~~ti€~f.'ac~d ~~c~cic~~:c~ tc~ him. ~'1<<zi~tif~('zx3c~tl~:c~ s`t~.
   z tz
            ~°~~~c~~~;~e ~~s a 4,<x:>cl .t<.~it~~ ~;~sCt~t~e o{'<~ckz~c~~~lec~~c;znez~t a.~~ci ~~~:~~~;~t tc~ I:~~1e~~~i~~~ts. W'l~ez~ tl1c; li€~ht
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            cl~~~.~~~;e~i ts3 ~r-~et~, P.lai~~ii:Ef'~~rc~cceciecl .f:o~.~~~~•c~ its. ~~ s~f:e Elnc~ lac~,~f~dl t~~~~~~~~e~•. De;fe~~da~lt:~ i~~~t~tecfz~~t~;1~%
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            att~:~~~}~t:~c1 tc~ ~~~~13 P(s~i~~.tif'f~<>vc;~~.
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  :~tl      l.fi~,        I~~~e: to tl~e ~~c;tic~~~s t~f` C~e;fe~~c~az~ts VII.,rhNf)V~1 t~r~ci ~r~N.l.)C7V~.I.. tl.~z~ee cit~y,s t~z•io~~ __ ~~~1~c3

   ~i       ~vL~°e ~~ncl at°e; ~7~i;~~~i~~ ~•~ c~E'tl~c sazr~e slzerit'["s cle~~<~x-t.cx~e.~~t ~-hose i7~si~;~~ias a=~~•~ c>n tl~e: ~~~1~~c1~;
   ~>
            c~~~c~ratc~~ ~~y I.~e1e;~~c~~~~yts 1~1~VII3.R1~I~(C) ~.tricl r~I1V:f~.R~:~l -- I'1{~.iz~t.i(:~4 ~Se°u~~~1~~; (~~:.rt°.f-i~I fug° ~ai~ sa(Lty a.~~c~
 ,„
            activated ~~is c t~le.r~;e~acy li~~~~ts while slt>~~~it~g c~c>tivrz try It~ok ic~z~ t~ ~~r~bli~; <tre<x t« ~~t~Il «vex• s« tl~<~t t:1~~,
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            e~~co~.~~xtc:r n~i~ ~~t Ile «itt~e°sse:d [~Y l>~~~se:~;~by. E']ai~Ztilf'tt~es~ ~t~Ileci. cry%~;~° <it a ~~~:a~°E7y ir~tcrsectzc>n. ~:lr~ci
  ,;
            ~:giCe:c~ tl~e vul~icle ~~~it:k~ leis ce-11~71~c>~~c i~~ }r.fs I~a~~c~, ~°ec;o~~cizt~~; tl~~; o►~cc>~ailtc.~•.
   >.fi

            1f>C~.        I'1~~it~t~~{`~~,~~s ~~s~~~r~necl, ~~~~s ~tt:~r~c~:ixaz :~t~Il, ~~~~~~ ~.r<~s r.~c>t e;z~~T~:t~,~::c~ ~r~ E~ixy ~r~~Eiv:ii.y ft~~~t ti;c~e~Ic~ lt~:~~~e;

            ~~~;t;i7 C`i I~Ci?"~~i~S~V lilt 1"~:33`C;`t~(~ il~i ~i~[t;ii~i'.i~iflt4 {31" G~cti3M3:t'_~t~g{,.




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       i   ', iC~7.    [7c;[anclant I~M_~3R.!~I~C) clici .r~<>t ~;ir~c a:t~y ~~:z•1~a1 cc>i~~tm~~~~cls, if~stz•~~ct:ioz~s, o~• c~rax•~~i~~t~s ~c~

       2    I'1€~i~~ii.ff: I~~stG~~cl, I7e;~e~~c~h~.~t 1~I~~~3I~AIeIC~ s~~or~tec~ tl~.e ~•[~etc~ricG~1 c~~~cstz<>7~: "I.7ict I. s~~y you. could ~;et




            lf~K.      ~~t ~~ll z~elevc~~~t ti~~~es, I.)e;l'e:ru~~u~ts I~.S~~t~3R~.NC) ~~~~d ~'~[..:~T~I~1 1 (czieu- a~~ :;11c>uld lave k.~ac>4vt~
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            f~l~~ SLtS~?ICI{itl ()~ ~! ~1'G~~~1C ~l()~ta~1.C)Sl t:~C)GS Y2E.)t ~1~{)11G~tIS~1~~ L1S111!.T ~C)l'C't` t~l]"k'1%1~ l.~l.t' ti'ilf~IC SI:C)~3.
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            iC~t}.     I:~~1e~~<.it~z~ts %~MI3TZ.~~.Itit) ~xtzci. A[.;VnE~~~I; ~~f~ysical(y ~~tf<~ckcc~ 1'I~it7tift'~~i~d ~~sed ti7ic~le~rtt

       R    1E>rc.~ axl hi~~~, i~~cl~.~clit~~r bu.t ~zot t~ecessariiy limited tt> taclLl~r~u~ PI<.~intiit; ~~•essiz~~r f?l.ai.r~l.ilf."s f~~ce; <~z~cl

       g   1~e~~<i tc~r tl-~e ~~tzv~~~~z~r~i xa~~c~ fc~rc;ibly ~•u(~bit~~ I~.is Face; ~~.4~ainst tl~e sz~~~aG-, ~~~d re~-~er~tcclly :~tt°il:Xz7~ .P]<~~~~ti[.'1'
   1 i)
           c~z~ t:l~~; ~:<~c:e:. ~~ncl BSc>ciy~ ~.T✓bile ~~us~~iz~~; tl.~~.:ir l~c~tly we;i~~ht ors I'laintif('~~5 h~ ~~ttctx7~7tec~ tc> ~.~cicz~c~~~lec~~e.
   ti                                              ___
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            17t1,      1'1a~I~trf#`~isseris }x~~'~:~x~ tl~~tt I.~i4tez~c~%~~~ts ~1~Ml~R!~.N(.) af~d ~.I..V.r~I~~ ; ~trer~, plot a.lte~~~~~t~~~~, i:(}
   ~ :~
           suh~tr~ .~~izn ~~s G~ ~~o~~-cc»n~~[a,~z~t ter c~~~~~~Terc~us sc~s~~ec~; but ixtste ~ci w~~°e ~;~~~a~>;ccl zrt ~ti~ill:f~sl t~.t~d
   ~~

   i5       ~~~.i~•~~c~~e.{i~.l vzc>fe~~c~; Ec> ~~jr~~•L s~z~c~ ~~~z~~.i.slT ~l.~~i~~til'f'ic~ff° tl~e ~~erce;i~%i;cl lac;l~ cat' E'caltyY tc~ t~~e<~z~ ~~s ~S{~i.ic;e

   z f,    c~f~fic.G~•g haseci. ari I'.lai~~#i.(~€'stc~~~~i~~~ cut c~f'hi~ ~~~~~icle; ~~~~ci ~~~;c~~rc~i~~g tllc et~c<>uz~ter.

   1~       x'7.1.     fit ~~c> pr~ir~i ~rioz~ tc> tt~c; use of ~crrce dick Dc;fer~dt.~~~ts enca~.~zztc~z° ~~7zy s~~~cific <a~~ic~ila~~.le; [-sects
   z~
            €~l~t r~~c3t~l€~ jt~:~ti.fy i~~1~~~ediately us ~7a~ (once; t>r~ Pl~~i~~ti1`I' ~s desct•rt~c°ci .t~e3~~; n, ~~.11~ ~trt.~s 7~c>t er~~,a~ec{ i~~
  I9
           i1Sl~ f}~)til`.I'Vil~)~(; ~14:~:IC%1~V ~;~1c`.1~ COU~E~ ~7G CCIIIS~:('t3t;C~ itS t~<1t1~,f;1't>tIS t1t' E)f~l('1'W1Sf'jU5L3~}~111~, ~~1~ l[S~ C1( ~t7t"CG,
  ?f)

           [~~~t i~~st~:ac~ ~u<.~s ai~e:t~~}~tin~ tc> zr~al~e su~•t; 2:1~~~f tl~e e;~~c.ouizt~:~• E~itl~ I7e1c;~~cta.~~ts "I:.,.~11UI13[~.~NC) <~t~c1

  7"~      r~.i_;V~1IZ~:,I c)cc;~:~z~rc;cl ix~ ate ~.~~°€~x~ wl~e~•e it c~}i~lc~ (gib t~k~sc~.~•vucl !~y ~~~i~~~c:;~es ~:.~~c~ was ~•~corded c~si~~~~ leis



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            E ~2.      I:)cfcxr~c[a~~ts° actions as dese~•ibeci .~2~z°eiz~ cc~zas€itl~ie wi111~~1 ~az~~~l ~tz~•~c>sc~f'G~1 vrc~lt~.tit~~~ c~.#`
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  ~~ i
            k'I~~it~tit("s ~~i~l~t tc~ l~r~. ~i~Ue frc~~x~ ~~ce ~sir~c: ~c~rce u~~c~cxz~ the :k~a~k.rt•tl~ 11z~~~z~c~rl~.~n1.
  :>.F,



  y.

                                                                         C{3\~(YC_,~,I~v'1' t~{~R T):`„~~i<,trE'er
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           17~.        1~.s Gi direct ~~►zc~ ~~roxi~~~G~l~ r•esl~lt cif' Detez~c{a~~ts' ~actie~~~s, ~'l~zii~tift'l~t.~s s~~1`Iered ~e;z~ez•~~1

     7.
           c3a~na~>us ciue tc> ~~~y~:~ic~i1 injurie.~, ~~sycl~olc>~ical f~c~~°~~~, e;~nc>ti<>xi<.~1 cl~stregs, ~~nci ~~ain ~.~~~d sYrf'fe;~~~~~~~, fc~r

           v~~l~icl~ ~Plai~~ti~ff c~or~ti~~ues tc~ seep i~~eat~~laent~.
     n
           17~.        ~s Ga cii.rect a~2d ~:>~•axi~~7~ztc resz~(t c~~~' L9~f~~adGt~~t~' aetion:~, ~i~i.i~ztiff ~.~sserts e;~c~~~alnzc; c~r:~~~3.a~;c~s
     5
           t1~~t Izavc t~ec;~~ i~.~c~~rr~c#. t~x~ci ~~Ji(l cc~ntit~~~~ icy b~ i:a~c~iz-recl iii tl~e .(i~t~~re c~iil~ x•cs~~ec~ ~•eF.~~o.n~~l~ly
     c,
           ~7ece~st.~z~y~ tT~eci:ics.~i tx•e<.~t~nerrt 1t~r t.l.~.e .i_t~jz~t~i~;s sufferc;cl dire tc> :C)~fc;zzclaa~ts' ~3e;i:it»Zs.

     u     1_`7S.      ['I~tic~til:f l~~t:; i:r~c~ar~°cci, a.~~ci ~~-i[I c~onti~~~r.c to it~cuz°, ~•~~isc~g7ab(e ~ttorne~~`~ ices, cc~sis attc~
     ~~    c:~~3ert~;es. I'~zz•suax~.t to 42 LI.S.C'. ~~' 1~)8~ ~~r~ci ~~<late.ci st~tt~tes, ~'lait~t ~f'is ert~titled tc> seep s~~ch
  zn
           r~e;~~:~c~~~E~l~le Cec;s siz~cl cc}its iz~ ~~~~za~~~~~t~, subjLc;t tc~ ~~roc~f'<~t t}~~ time r>f't~~i{~I.
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           l 7b.       ':I'~~e cc»~~~.zct c~i'tlae I.)e~~;n<~{tnts <~s c~~scribec~ ~Zc°x~eiz~ ~•~~~r~;ser~ted ~a c~-.ilifiil <~xxd conscious
   >;?
           cl:isre:~ a~•cl tc~~• the t~•c~~.#:za~e~~t c>f F~riv<~te citirer~s ~.~~~.tier i:l~e Ia~r. ~)i:fe~~cia~~ts' ~~ctic>ns stuck the
  I3

                                             ~e ~~e t•sa~t ~.tt~c( ct~~~strtut~ an ~.~t~Lxse o1'~~«wez' tla~~i ~~~as ~~~~~1i4io~as at-~c~
           c:a~~sciet~ce c~.f` tlt~; ar-et°t~;
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  1S       ~~~.~~°}a~~sefu:I ~uc;.h. tC~~~.t ~°s~.~~~itivc~ c~a~~1~~Ls s.~~°e ~zlitfwecl ~i~~c~u~° the; lc~~~,r. 1'u~~iCi~j~; c~axn<t4.~~s are tl~cz•~~:o~•e

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  `?()

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  ~ti, 1177               I'lai~~t.iii rc-~ill~~ca, <}de>pt a~~ci i.~~~;or~sor~~tes tl~.e ~~x~~~~c~i~~~ pa~•a~~•a.~~~~s ~~s if':[i~11~- set: I:c~r-i:1~

           l~ereiz~.
  ~~:.F
           1 "7h.         ~1'l~e; C'a.litc>rr~ii~~ C"c~~~~ti~~~tic~n, t~~•ticle .I, § 13 ~~rc>~rrc~t~;s c;a~~:l<~ii~s ic~~;nticat text to f~~~ 1~<>u~-th
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           ~'~~~a~x~ci~~~~°~7t tc> tl~~ ~.)niie;d ~ta.tes t:<.>z~:~ti:t~~ti«3~ <~ti~{ ~~<~~ (~~;~xXx i~~t:ct~~z~~tecl to 1~e c;€}~~~i~t:~z~t «~~tl~ tl~e
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  ,~       }~~°~3tectic~~~~ ~li't~rc~.~c~( ~►r~c~~r f(~~ F~at~~~~th ~~g~~~nci~~af~~r~t ~E:c~ ~tl~~: ~Jz~itc;cl ~t~t~s (;c~n~titx~t:i«~~ writh ~•es~ret~t Eo

  -,>      ~~~-~°e~(oz~z {i•~s~~~~~~ ~~r~l_<~~~~~~~:i.~1 t.~~~_c~ ~;xc;~gsi~~e ~I~~z~c~:, ~~ <~.11 ti~~~~;~ ~~~z~1c~~~ia.I, ~~'t~~~zta~€'~~ur~~~ ~~ ~~lly ~r~tit:le~~ ~(~s> tl~~;


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        c    ;•i~~ht tc~ be ~i~e~; 1z•c>x~~ ~x~~l<~~~fill ~~~~ci exccsszti~e tc~~•ce u~~c~~;r the; ~~cx~~~tt~ 1~~~zet~c~~~1c~rt~t tc~ ilia Ui~it~,<.i ~t<.ttcti

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             C~c~i~si.itut.i{7r~ ~s v~~etl as ,~1z-ticle I, ~ X13 t~f'tl~c C_'al~i~lo~•nia ~'c~~~stit~.~~.iE>~n, loth of`~~=~ricl~z izac3~.zclL t1~c~~ ~~i~;~~}~t
        {
             c31~ ~.~ ~~rir air citi en ~xc~t to !~e :~t~l~}ecl.i;d to e:~cessive :(c>xcu by is la~v ei~4c~rce;xr~eX~t, c>i'ficer ~~~itl~.r.>t~i I~~;al
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             .lugtzfic;atic~rz.
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              l7c).         C°alift3rttia C"i~~il C:oc3e; ~~' X2.1 __ t°Lte~~~~ed to <.~s td~c `°`I'c~n1 i3aa~e (:;iviC Iti4rllt;~ ~,ct`' __ L~llc~~~rs tlrx~,
        r,

             II1C~1.tiit~llcl~ ~~ ~)1'242~~., it C1.V3.~ Glc`lit'Tl ~isxi31T1St ~l bt3i~~'IT2S11Gtit t1CtC.)(" ~V~20 ~"1`dti Ilir~rff'1'E'~ ~'.1T.~"t Ol' tl.1:t('112~71LC~ 1Cl


             i~~ti:r#arc ~c>itl.~ tl~.e exercise or ~~ijoy~ra~~1i c>t'r-i~hts sec~~rLci try tt~e C~c>zx:~titutic>~~. or ta~~%4 o:E'ti~t; l_1t~itec~
        ~~   Stat.e~, o~° c~f`r14T.}~ts s~c~~rcc~ 17y tl~c C<>zz~iit~~tiaz~ ar 1<.irus c>ft~1c; Mate c~.E~C~~~~l~fc~.~~~~ia.
   ~,~
              1 ~t}.        I~e°f~~~~c~~~r~ts ~'r~~I~3~.AN~) a:r~c~ 1~1.~Vt~R.frI i~~~e;rl~;r~<:i iuitk~ ~'lcjid~t:il`t"s ri~;t~t to 17e :fi•~e; fi~c7~~~
  r~
             ~rc;~;ss~~%~ anti ille~;r~f ~c>:~•cL ~~=ithin tine znea~~..ir~t~; cgf ~ 52.1(I~} ~iy im~~ec~iL~telti~ ~~sit~~ s :ric>r~s azicl ~=iolent
   ~ -~
             i'o~•ce can ~'I~xiT.~tiffiir~ c~iz•ect r~es~c~z~se to axe ~zlic~ec~ traffic ~%ic~l<~tic>~~ corrabir7~;t~ wit3~ 1'l~~intif~'s l~~~f~~l
  1:~
             c~e~;isic~tl ~t> exit 1~is ~~~1zic~c; a~~c1 r•ecc»•c1 I:)ef~~lc~a~~i~ t~~~itC~ 1~is cell}~i~c>~~c ca~~a~~•t~..F~s c~~°sc~•i(~~c1
  14


  IS         ~`,~:i('.1'e'~1C;2'C; ~1t',t'E;t[l, ~C.f.~11C~it11~5 111131]GC{1%l~f.'=~~% ~4lC~C~.GC~ ~~~cllll~t~~ iiI1C~ 1"C;~l{;cl~~'.C~~1' 411`ltC`~i ~~£~II2~l~f t7X1 ~~"1L


   ~ c}      lie<i€~ ~i~7ci 1~c>ci.y ~~~~~i}e farc~fial.ly ~-~al~bi~~~ Plaintiff"~ :(~~cc~ into t~}e; ~~~~ve~~~e.~~t. zc11 <>1.'~~-hicl~ ~~as
  f7
             ~~t~~~~~c~vc>~ed ~~~~c~ c~c~;u~•~•cc~ c1es~~ite P1ai~lCi~f x~c}€ exl~i:~i.gix~g a~~.y iz~clzcatrc~~~ tk~at I'laiz~ti4~' ~~as v~iolL~rl c~~.
   ~ ~:
             otl7e~~~~,~i~;~ }}c~s~d a ~°i:~1~ c}1 I~~~~~~~ to D~l~t~c~<.~~~ts, ~~i~~~s~;.lt, <>~• ~.~t~yc»lu else in ~1~~ ~~ic.it~.ii:y. '~'17is use ~~l
   < <~
             :~~ric~~~s a.r~c~ c~~ar~~_>;~ r~3z~s fc~1•ce c>t~ Plaintiff ~~,~ithcrut l~~al ,jr~sti~~c;~ti~xz ct~r~stit~ites tl viol~t~.i_c~17 t~~'the
  ?f)

             }`sz°c~l~il~itic3~~ c~~~ ~z~~l~~~~~(G~1 use c7~`.[c>.~~c~ ~~rlde,r both tl~.e ~~ou~•fh Aza~er~ciin~°~~t: tt~ t1~e IJ~~ited ~tatc
  :', i

  ,.>        ('c~~~stitu.tior~ r~.r~c~! ~1~~icle 1, g 1i of tl~c C~~lifox~ia C"o~~s~i€u€iorz.

  ~,          1 ~ 1.        ':I"}tL, act.ic>t~~ cif` Def-er~ti<~~~ts cc>nstitG~tecl <~ t~~ill~u(, cl~~~z~t«x~, ~~~~c~ ~ns~Iicic~~zs c~esi~°e t~s l~c~x~P~~

  ~~.        ~'I~~i~~t~(~f r<.~th ~~ t11~z~~. ~:t7~;Gt~;c; ire <.~riy le~~~t.zzt~at~° i~~ve°~ti~;<~tic~n c~~~crit73i1~<al. ~~rc~3t~;~~oi~~;.
  ,~
              l ~~?.        r~~hc; act.ic~t~s c>1`I)ctLt~c~<.~nts IAMT:3~~11:~It~ a~~d 11I.,V~1R.~1 t~.~~t~stit~te° ~~i~>ld~t:~c»~s c>I'
    {>
             C~t~.liioz•r~ia ~:'i~~i~l ~"E~~~[c ~ S2.~t bec~~~sc~x i~~~E, ~°c~ncl~z~;t ~tll~.~~~;ci cc~nstitu(~s ~z~z~ ~i1~t~~,~~~ti~»~~~1 ~-icslt~t~i~~~~ ~1`
  ,~
             ~,~~c~~c;{~t~~ ~ig~~~~~; ~l~~t: ~~~°~° i~~1~4;~~~~~~~1.1~ i~~~x~~i~~~ti~~~~, ~~.~~1 E~E:~~r•~;i~~e; {~~~ t,it~~~~~~: c>_f~~l~~; ~i~>1~~t.~€~>~~, tl~e~~r~S~;J.~~~;~.
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                                                                                                 :5 ~>
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       i    ;~,1~e ~.ic;t~ic.~~~s c31` I~efcrlc~a.~~t:s also c{~nstit~.xte t~irea.ts, i~~timitl~tion, anc3 cou~•cioxl ~~ithir~. t:lz~ ~fn~a.z~i~~~ o~f

      2
            52.:I its t~he~ ~~~tse ui"force in vi.olatic~~~ o~.~co.n~titutio~~al ri~l~fs s~~tisfi~;s t:l1e `'tht-ea~. ir~tit~lid~~tic~r~ ~~r

            cc~ercic>X~x" elet~~eitt of ~ ~id'..l .(See Cc~y•taelC k%. ~`ity ~xrrcZ Cor,rJat~j' ~f.Sala ~~i•~rrrcisc.« (2fT17) l 7

            C`<~1.:'~~~~~.:+tl~ 7(~(~, 7~~9-~02; sce° ~~lso R~:~ae v. CMc~~r~~tc c~~ ~acx~arnc;ntg, ~~~ IY.3d 1030, .t{}43 (c?t~~ C" C~.
       S
            ~().l $.~
       t~
            1~3.         A.s a. clzr•ect t~i~d ~~~°oxir~~Gti~; ~°usL~lt cif (:~e[en~tants' actio~ls, f'l.~iii~ti~~t'l~~as ~~a:~:f:et-e;c~ ~~;~a~;r~~l

       x    c~~zxz~~tre;s ci~~e tc> p5ycl~c~lc~~icai l~a~-~~~, c;zx~c>ti~>~zb~l c~.i~t1•ess, aa~c1 ~3<.~zn ax~c~ aLatl-~riz7~, f«~° ~~(lich they

      g     t;;C)S1~iI1Llf.` lt) SC;C'.~i t.t'~i1f(1i~`t71.

  lit
            l ~i-~.      l~s <l clir~ct ~~c~cl ~1rc>xin~<~te; ~~~.sr~lt c~i~ I7efenc~~~~ts' sic#~c.}~~s, I'lai~~tif~l'~t<~s irlc~~r•re;ci ~~nc1 ~uil.P
  (i
            cd~~~tin~~.i~ tt~ .ix~c~~r cc;~~~zozxz.ic cia~.~~ages in the l-c>rrr~ c~f'c;c~sts fc~r rnec-~ica1 tr~e:~~t~~~et~t due. tc~ tl~e zi~j~z~•ie~;
  12
            s~~f'~~;~~~;cl ii•c~in t}~e vic>lettt acts c~~':I)eien<.i.a.t~ts.
  t :i
            t8:?.        i'lai~~tif't't~~~s iz~e,~zr~~•eci, ~an<.1 ~~~ill cc~z~i:ia~~re to inc~~r, re4~scs~~~~171~: aEtc>~•~~ey's f~~:s, cc7sts G~:s~d
  1~

  ~s        ~;x},ertse°s. I~ur~uar~t tc~ Cyalifc~z°~~ia Ci~~i~ C<~de ~ 5?.1(i) a~~cl related sCat~kte;s, P.ta.itat~:Ef is e~~tifl~:c~ tc~ :;~::e(<

  ~u        st~~~~ x~easc>i~~.~l~1e; ices ~~~~~ er>si:s i1i azilc>~z~~t:s s~~~je~:t tc> }~.roc>~'ti.i tlae ti~~~e c>f'tz~i~~:l.

  ~~        l ~C7.      '1`11G cc~s~c~uct cat tl~e l)~1~;i~da~~.ts as ~i~~;cr~bLc~l 1~~~~•e;iz~ .~°e~>i•ese~li:ec~ ~ ~.~illfial azic~ c~cmgcio~~s
  s
            clisa°e;~~~rcl fc>z° t(~e ~~t.~sic care ~~~r~ trLat~~~ez~t c~('~~ri~-atc i~~cli~~zclua.l:, i~~clitc~izl~ ~~7.t ~~c~t t~ecess~tt~ily lij:z~itec~
  ~ t~
            tc> 1'ts~i.~~~~iffs. I~:)eft:z~d~~~ts' acti<>~~~ sh.<z~~l~ t11~ c~~.xxsczez~c~e o~~'rl~L ~~~~l;x~a~e p€:~z•~crz~. anct c~r~stit~.~t~; a~~ ~i:E~~~s~
  _~t7
            c>1~~~c~rr~er~ t:}g~~t: ~~~3.4 ~7~<~Iici<~tis ~t~zcl ~at~~°~zc~s~:f-u1 s~ic;h that }~~~r~iiive c~~t~na~;s:~-s 6zz~e; ~.~llc~~c~ec~ ~~zader t}3c~ fart-.
  w~ i
  ,n        ~~~~.~~iti~~~ c~amati=Gs ~it•e tl~Lrelc>1~~; :~c>t7~~xt ~~~;ai.r~s~ floc ~~c(e~~c~~rnt~ accoz•dzn~ tc~ p~~c>c~i'.

  ,,        1 ~ t.       I~e.~e~~~~~ut~ ~~~~~tc?x~~1~c~ tl~e a~ar~;~~z~t~~tit>z~uc~ ~~~•a~~~#irl <.~cts irz tl~e cc~~~~;5~; az1~ ~c;c~~-~e; cif t~~i~•
  w>..~.    c~tn~~lc>y~~ient fa:~ I~~~.~- er~:[c~rcux~xe:lat c~1~licc°r~ e;rr~~~!<>yucl l~~r thy; I..c>s ~na;~;les C'c>u~af:y S(1c;ri1'f"s
  ;;
            ~~e°~g~~~•t~~~e~~t..['~~~.~;~~<i~~t tc> (~~~lilcjt~~.ia C."r<>v~~~nz~~e~~i: C'c~cle ~ f~ l ~.~. tt~~ cc»~~r~~c~~~ Ia€c~ c~c~c;tY•i~ze° c>i~
  ~~t~
            f~'~:s~c~rref~~~rt~ ~5z,~rer~i~~g t~~~ci rt~~latc:i~ c~s~ Iac~-, T~c;.t~~;~~_ci.~~~~t: C;tJ(J7l~I~V C~~~ I_,4~~ ~~Cf}al,~~;~s i~ vi~~:t.ric~~~:~I.y
  ~;
            (~~.~3.~1e: 4~~~~ t1~~ t~~~~c°c~~~~~~..~c;t ~>(~T~~:#<:°~~€~w~~~t~s a~ ~:1cc,t~~•il~~:Mc~ lzc~°~~~~.
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                                                                      A l~! ST~YA~~ 4V1~610~J 4.:! l.~&1R f'41.Y,%
                                                                                                                 , %~~




       2                                       t''I~~~t~`~IC~~()I' ~~~ti'I~.~Z~~t'1'~s~7i~Tl)~:I~42~).~.~;.~~' ~~?g's3



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       <~ I l~erei.n.

             1 ~~).     :1t tf~c tirr~e c~f'~he incicl.Gnts ~ls si t ~c~.t•t(i r~~ tl~~ t.~ver~~~e~~ts a.1~o~%e, t~~u ~•i~ Its c>~.'per•so:~1s wit}~i~~.
       u
            tl~e jurisciicf:i.c»a c>i't.tte t.Jr.~t~cl. States «1:'.~~.~~~ei~i~;G~ u~~de~• t17c ~~c~~~~•t~~nt~~ Arr~~;~~ii~~~e;nt to the C1~~:ii.~:c~
       ~}
            ~t~~t:es C."ox~~stitutic»~ to d~.~c ~~~~oc~:ss r~I'[at~r as ~g~ell a;~ tF~c r•ir11t to lie f ~•e~ t~-c.~~r~ ~.t~71,:~wi'~:~I ~~se c~9't~ t<ase;~~
   ~s~
            ~~-~;~~~~c>i~ c~z~<fcz~ the ~~c~~.r~~th ~~s~e;x~dzrte~a.t ~~~es-e i~~ :[it11 ~c~rcc aa~c~ effect, at~ii t:l~e i~~ci~~~iclut~l de(-e:~~c1~3~~ts
   t~
   ~ 'Y     ~~1~c> ~.~~~a~;uci i~~ co~~ci~act, ~.~s :yet k~~rtl~ al,c~~%e> c~e~~~~i~=~.tl ~'1ai~zti[:f'oi tl~~ir c;<~Y~ ;i.~tutit}ti<~1 ~~i~;l~ts> L~~l1ic~~

   z ,~     ~%ic>l~~.t.~;c~ t}7c>~e; ~°i~l~t;s, ara.c~ ~~.i€>lt~ted t(~e F~c>~zt~te;entl~ ~xzi~nclr~~ent tc> tl~e t)zrite;ci ~t~tus Cc~.~~stituti«~~.

  t~        1 t)t?.     ~~r M.<.~~•cl~ 13, 2(}~(), at~.cl Ciur~i~~~;111~, ~.I~e <~f'vi«lent (c>X•c~ by .I~~tet~cla~~ts I.~~NiI3.I2.1~Nt) ~~ncl
  IS
            <'~[_:t'~-tPE:sl ~a~aizast P1~i~ntif~`cia~z~i~~A; ~h~ ~-~iar~sc>rt~cf t~~af.'(ic ~tc~~r, I)elc;.~~cl~~~~ts I~~i~'II3.K.hN() rt~7cl
   ~ ~,
            x1I_,V,~,I2El ~~~~~~e;ceti:~tzz-ily ~z~c1 ~~i~}zc.>~~t lc~~al j~a5iifzc<.~(ac~zz esc~~la.te;ct tl~uir• ~ri~:>le.nt ~Slxys3cal atP~~cl~ c}c~

            E'l~ti~~~i~l't' I~~-E3~~~ usz~z~~; their fists ~tzc~ I~:~s tc~ stri~lc~; 1'1G~i~nt~ifi tt~ ~z~sin~ ~~ ta~e~• ~ve~~~o~~z a~;~inst T'~aintiff:
  4h

             E<~1.      I~1~rirz<~ i~~e cc>~~~•se cif tla~;ir ~~iolent s~tt<~ck on ~'I{~i~~tifi; I~~ f~.;~xc~a.r~t:;1.~,1VII3.[YI~NC), ~~nc~l I~i>s i171y
  i ~~

   >.o      ot1~c~~~5, .rep~~~t~.c#ly' ~ls~°ci a iase;r ~~re:~~~~c»~. can ~'lai~~ti~'I'i~~~.l~.ic~i~a~~ ~cvc~z•a.l ti~l~es ire I'1~~i~~til~f's .z•i~;l~t t[xi4>.I~ ~ls

  ?~        ~ve~1l <-~s ~~~•.i.~~~ tl~e tas~r wet~~s~~n i~~ "c~~r~t' ~~Zc~~e into ~'1~i~~tif-Cs IsI~ ~1:c~z•st~.
  ,,
            1{)~?.      "1"lie use; c~t'tl~e ta:;c~t° ~~ea~~c~~~ ~~s cic;~c;x~iE~€;d I~~;~•e;il~ clici r~c~t r~zeet tl~e ec~n~tit~7tiE»za(.~•ec~z~ire~~~e~~ts
  ,j
            t'4~~1~1.[lS~2G(~ ~71'It)I' l.t) $:~7.~;; C~iZf.t ()~`g~IG i11C;IC~f;II~ ~7LC;iIl1SU ~~t'~(;YlC~~11115 C~IC~ 110f ~litVE' cl 1°Git4(3lli~~~t.~: ~7t%~_i('~~1~2£21
  :' t
            l'lair~tili`~~aci cc>7~7r~~~tt:L:c~ c>~~ 1~~a,~ irt~ f4~ex ~~~~c~cc~~ ai'cc>t~t~itCia~~ ~r ~%ic~[e~7t. #'~1c~~~~~. ~3z•y'~g~a~~. IVt~~ci'11c.~~c?r~,
  gl


            (~3() ~~.;;c~ ~()~, ~"~{i {9t1~ ~:"ix•. 2()f0}; scu ~t1sc~ Me~~ec~.itl1 r~. E~,rc~tlz, 342 :6~.~cf :lf)~'7, 1~(~~'~ (9if~ C'i~•. 2{)()3},
  ~r,
            (~~l~c~~r_~-~~~~t~e~. 27 [~.3~~ [1.43, 3:.~~~_~.~~.,~, ~{3t~~ C~i~~. 1~~t)~): accc~.c~c~, ~ic~~;~~et~r_.~'__(~.G~lle;~><>~, ;~Z_3 Vii.>cf

   S        i }.~7y I {~~ {~1.~}~l~ Chit°. ?~C~~~, ~~;t ~,t, t~ ~~~~ ~t~~~~t, a2,7 ~i`.~€~ ~?~3, ~1 ~1~ (1 ~t ~t ~'i~°. 1f3~~3}.

                                                                           C'O\'l Pt :~:Iti"1~}'(~I'Z 13Ai,9 ";t"iii:-~
                                                                                              :ih
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      a    ~.,(~)3.     f1i ~kll tunes ~~~c~tcr•it~l, Uefe~~c~~~.t~t: ~1.1_,V~i(tE l l~Ja~ tt«°~az•L of°De4:~;i~clax~t:%~Ult3[e%~NC)`~ zt~T.e;~1t

      z      t:c> case {~ t~~sc;z~ ~~-e~~~~c~:~~ can 1'lcti~ati('1', and pc~~~c}~~ally pac-ticip~~tec~ ire [fie:{ex~c~t~nt I~hM~3I~.~NC~'s u4~:: ,
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             t~~e; ta,4er~ ~~~Gt~~~c~~~ c>~~ l'ls~intif~`. Stac4~. ~>~rt•sc~~~~.~i ~~at•tici~~~ati.o7~ i►~~;I~~ci~tl .~ic>lc{in4r }~1<.ti~ltil'['dc~~~~~~ ~~ncl li('ti~~

           ~ I'(aix~ii{'[`s sl~ix~4 to assist 1.>e~e;r-~d~}x~t I~.VII3[~.%ENO ~.~s .~~e ai_r.1~uc1 axed c.(i~;i;l~az-~;uc1 t:[~e: t~~ser• ~vc;a}~c~n..

            I:)e:(e~~clt~n~ Ar._V1~[~L;I also ~x•e}~~z~°ec~ l~i~; r~~~c>z°t c>f tl~e INC~I:)~:?~T tc> ~rc.>vic.~~; [a.l:~e re~~sz•es~~~.taiit~.z~s it7
      t>
      N     c~~~~er tc~ c~reat~; ~lausil~Ie, 1c~,al j~istitzcation for :~~efc;r7t(a.~~t l_;~NI~3I~AN()'s use cif t(~~; t~sur ~~-eat}c~~~,

      e      l t)-~.     ~'(a.it~tif'('zzsse~-t4 ~~ere;it~ tl~~t I:)elLncict~~ts ~~1ME~~.~.h~} ar~cl ~:f..:VA~e.~~I_, ~~~er~; r~.{.>t <~tte~xl}~ti~~~, tc~

      g     ~~:~t~sl~a~ la.i~~ as <a nc~n-cc~lxl~~lai~lt c.~r c~az~t~u~~t~u~ s~~s~-sect, (~xa.t i~~stea.cl ~ve;ce en~;<~~~ec~ izx ~vi.l.lful ac~c~
      i,
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   li
            o~~fice~~s 1~ased ~~r~ E'l~~zntiff st~;~~pir2~ c~~~t cif lais ve;~~icl~; a.z~cl ~•ecorc~in~; the ex~cc~c~~~te;~•.
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             1 X35,     l:~et'enc~<~~~t~; k~~e~~~ c>~• sl~cj~~lci have 1<nc~~~~~~ pric~~~ to March .E 3, ?{)2t~ t(~~~t re~~~.~~t:ec~ L~sL c~l~ l<~s~;s•
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   jS       ~~e:at•~ -- ~s hi~hl~~ c~~~~~~;~~~c>us anc~ ~~isk5 ~e~~io~~~ zae~tt-c~.lc3gict~l a~~d ~;~~rc~iac, ~ve~xts, i~~clt~cl.in~; [~s~.~t nc~t

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   tt
            c~u a gus~3e;ct ire tl~c° tai~se~~~;e c>t~a re:G~sc>r~al~rle; ~~:r~c~ a~-tic;ul~l~le be1i~;F~[I~t a sus}sect is e.~~~;a~r~:ci i~~ a.
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   ~..~     J~istil:yi~~~, tl~~ use: c>~' 1~~rce, ~rc~t: i~~~te:G~s] ~v~~ {~tt~~~~~~ti~~~ tc3 ~•e;cc»~cl tl~e e~~c;c>~~~~ie7° ~~iti~ I~c,~~,.ztc~{.~Y~t:s
   y;
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             l~)~.      L)~ ~-~n~l6~~~f;~° ac~.t~c~z~~ des c~~;~~;r~it~e;~ ~~cx~~~:iz~ cc>~ts~ii~~te t~~illt~~l <~~~cl ~>u~°~~c~:~~;f~~( vi~>ta.i.~c~~~. t>f.
  ~;
            ~~I.~~+f~ti(~~"s ~~iU.I~~ tt~ 13~ Asa^~~x f~t}~:n_ ~:~~,F~°:~~~r%c°, f~~~c~° ~x~~€~e;~ 11~=:~° t~'cftr~~~(~ I~~~~s;~t:ir~t~;.t~t.
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          (t)E).      f1s <2 tli~•cct ar~c~ ~►roxi~n<.~tc z~t~s~~lt c~f~ C)efericla~lt;s' actic~t7s, I'1~zi~~tif~f'1~~.~s s~i(~e~~ec~ ~e;~~e~•~~I

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          C~£~I7l~i~?,L~ t~.lif.; tt} ~~IVSICi~~ 1t1}li:P'If;S. ~7:i~/C;~"1C)~Oti?IC~~ ~"l~li'It1, GT110~1412~1~ t~l.S1:l'E'SS, ilI1C~. ~`?~lI.tl ~~111C~. SU~~l.~t'll1w.~, ~01'


          ~~-hic;1~~ ~~'I~tinti~f:f'c.o~~tir~z~~;s to s~;e1. tt~eat~~ner~~.

          ?{)(~.      ~'~s G~ cizrect <~~~c~ ~~t~ca~~~~7Ekt~ reyttlt c:>f~I:)c,fctld~l»[s° L~Ltsons, :~'lait~tif'#'I~~~;; zr~ctar~•ecl ~~2c3 ~.~~ilt
    s
          c;c~~~ti~z~~e t« i~~rrsr ~d~c~~ic~~~~ic c~arr~ay.~es iii t11~ fc~~•~~~ c}I:'cc~st~ for .rt~~cclical tre~tanent dt~~ to tl~e ix~jurie°s
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    u     ~?f)1.      }'Iaintiff has i~~~:i~rr•e:~c~> and ~~-i11 t~r~ntint~.e t.~~ i~~cu~~, re~~sor~~bie ~ttc~rncyr"s fe~:s, c«sts ar~d

    q     ~:~~~i~zisLs. I'uz°szzr~nt ter 42 E1.~.C'. ~ 1{~8~ ~~~1c~ ~-elatec~ statutes, ~'l~a.i~itifif'zs c°~~tatlec~ i:c~ seek sz~ch
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          cii~t-eL>~~rcf (c>~~ t~~e; Cz•~t~.ta~~ent c}I'~~r~iv~tt~; cit re~~s ur~.cier i[~~ l~t~-. l~~Gfe~~ci~rli:s' actions 4~tc>clz t~~G
  t :;
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          ~•i~l~t tc3 l~e..tx•e~; ix•c~~x~ ~~~~la~v~'iil t~~~d ~xc;essive It»•ce; ~xnc~er the I~c>z~x°tI1 A~~~enc~~~~~:r~t to tl~e LTr~itecl State

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          cif` ri ~>~•r~.~~~t~: c#tilefl nc~t tc~ lac s~~l~jected tc~ rz.se c>f a t~sez• t~e~~E~i>t~ (7y a 1G~~v en:(<>.x•cL.znc~~xt c>f'ficer d~~it~~«ui

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          ?t)~.          C~'~~Iiic~r.~~i<~ Civil C'o~e ~~' S2.1 -- rc:terre;d to pis t!►e "`£'c~n~ ~3<~a~e. Civil 12i~}lts ,pct`' __ ~l[c~«rs ~lrly
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         ~ ~~~teri~rc ~vitl.~ tl~c, ~:~ercisc oa~ ~z~jo~~~x~ ~x~i c~i'x•i~;l~Es securLcl key t~~e C'or.Istitc~tio~~. car .1a~x%s c>~'tlie t..?~~ii~e3
    ~~    ~i~ztL . a~~ ot~ri~l~t~ se;cr~..z~ud Icy i1~L C'«~~stit~~tic~n car lri~~~4 c~f't~~e State o:E C~alifc»~~iia.
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          ''C)E~.        T)c~.f.~,~~cla~its IA.M~3I2.f~N() a~~c~ 1~I.~V,~.I~.EsZ it~~er~~;re;d ~~zth ~'l~~z~~titi"s ri+slot tc> be.:f~~ec; ('t~o~1~
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          cticess~v~ <~tx~ zlle~;zl fc~~~cc l~~i.th ~ thG xne~~ni.~~.~; c~i' ~ :i2.1(l~) I~sy ~xsir~~~ ~e~~i.o~xs ar~c~ ~~iolent ford <>r~
  1?
          3'1.<xi~~ti1'~'i4~ direct res}sc~r~ge; tc~ ate ril.lu~~r~ tratfiU ci.o.latic>.X~ co~~~l~inLci tvrt~~. l'lai~~t:ii'f`5 1ar~~1~~1 ci~;ci.sit_>z~ is
  f :~
          ~:~it 1~.i5 vehicle ~~t~ci ~•ecorci I~c;~et~clazzts ~~,°~t~~ l7is ce1i~~~~c~11e c~.~r~~ea~~~. ~s ciesct~i~ecl el.st,e~~l~ere l~e~•eizr,
  ~ ~~
  ~S      G~~:te°r it~ckli~.~~ 1'1.ai~~tzE'~'t.~~~d ~•c~}~~atec ly sta-L~el: l~l~~ii~tii~'c~~~ t:1~e ~~e~~~l at~d l~t~ciy ~t~l~~lc fin°c~ful~yY r~~t~l.~~~~s~

  t c~    E'I~:~~r~tiff`s fEice; i:~ttc> t11e ~~r.~~r<;zxx~~si:, ~)etez~t#ant I~,.MI3It~..Nt:) -- ~~°itl~ tt~e a~re;emr~z~t, ~~c;c~lzr.e;~cea~~e. ~~a~cf
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          s~~~~~~c~rt of I:)eter~c~~xlt ~,.I.,V.~R1~1 w.~~a ~~er~,oz~~.illy ~~~trti~i~~~~tctl i~~ thy: saz~€ ~__ te}~~;~.~tcclly u5~:i.1 ~~ taser~
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          ~vt;~.~~~c~~1 ot~ I.~l~tinti.('€'. 'I'~~is i~~clu.decl c~i.~c(~ar~,zz~aY t1~e ta:~e~• c~7~:~.t~~r~~~ ire "st~~~~ ~~~oci~'` ~~atc~ I'l~~i~~til't~s tlai~;l~
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          ire(<>z•~: c~isctla.~°~i~~i~ tt~~; tas~:~° ~~%eGt~~an i~~ '`c1arC s.~~c~cle" i~~ic3 t~~~ left si~~e; cat` I'l~~int~f~'s tc>r~o.
  3t3
          20"7.         'I'h~ ~.~:~e of~il~e tase~~ ~~-c~a}x~~~ by De;fetu~ar~.i: Z;~MI~ tRs'~I~O ~,~as u~~~rc~v~7icec~ at~ci e~ccur~•Gc~
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  ,,      cle5~~ite .i't~~i~~rt:ifi'nc7t e~l~it-~iti~~~ L~z~y izlciicai:ic»~ tl1~t l'i<.czntifF ~~-a~ ~%ic3le~~t c>r c3t}~L:c~~rise; ~7c~seci <:~ ~-i~.lc c3.(~

  ~:t     li~~z°~~~ tc> :I:~ef~r~clazxts, l~i~rlsel~`, car al~y~c~z~~ e1:;~ i.~~ ~~~c v~cz~~ ty. T1~L cRsu c}I`tl~e tE~se~° ~~~t;~:~~o~~ dv~xs ~~ ~~s~z~t

  _.~~    c~~`tl~e; ~°~~;<~1ati~z~ <~~~c3 ~%icsl~~~t fc>~•~e used l~sy I.1~;fc;r~cla~its i~~ ~•~:~}~c~n:~e to P(taintill~~t~.~~~cfir~~> c~utsici~, iii
  71
          t-~f~icic~ a~~c~ r~;cc»°c~iz~~; the <~~~~rc>~c~i.k~~y c>ff%~;~-rt°~; ~~4ita~ 1~i~; c~;Sl~~~~c.~s.~e, ~.~.II c~i ~~°l~icl~ w<is ~~~~cd is (<~~~-ii~l,
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          ~:~n~l cc»~~tit~~tes ~ vii~l~~t~.z€~x~ c>~`tt~~; ~~r«h~t~itit~~~ ot~ u~glG~~u~i~l zz~~ t~~k'~~ort:e ~z~~cl~:~~~(~c~t~x the I~o~~~~tl~

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      a' '?~8.             ".I'}~e sac€ic~~zs c>i'I~~f:ez~c~x~nts I,~MI3Rt11~0 ~~~~d r~I~VAR.E~,I ~c-itl~ re;gpect tc~ tl~e u:;~ o[`tt~~,

   2'
           t:<~ser ~~~~;a~~c~n <~~aizist :Pl.a.i.~~t.sff'con.gtitute viol~~tic>r~s c~i'Calif<>x~tlia C'i~-i1 C"c~ci~ ~i2.:[ b~ca~~s: t11G cor7cl~~ct
      ~'
           alle~,~:cf ccrz~~iitut:es tin ixzt~;ntic~n~~l ~,~it~l~~tion of'pz•c~tc;c~ec~l ~•i~l~ts t1~at ~~~~e inl~cr•~:t~t(y i~~ti~~~ici<~tit~~; ~rnd
   .a
           co~.~•cir-~: ley vii-tiie c~f'th~ vialaiic~~ls tl7eaa1sc,l~~es. ~F'1~e t~cizc~r~s o('I:~~;fi~ndants also cc~~isi:it~~te t.~~~•eat:~,
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            i~~ti~~~zc~rrtzc>g~, a~~c~ cc7ercic>t~ r~~ii(Zin f~~e ~~leaz~zz~v~ of ~ 52.I as the usL c~l~ ic~rc~; its vi~>la.t.i.c~ri c>f.
    c}
           ~or~~tit~.uf~ia~~t21 ri~hE~s s~:~tis(~~~s t(~e '`t11~•e;at., i~~ti~~~ic~a:tion or ~oerci{~n`" ~terzle~~t cif' ~ `+2.1. (`gee C'ot~r~~~ll v.

            C'itr~ Banc] C'orr~zt~}• ofxSGrn ~~i~~rnc~~i.rco (?417} I7 Ca1.~~7~~.5th 766, 7~9-8t)2; see also Reese~~t:~ouni~<~f

    ~3      ~acr~.~r~~e~~tc~> 8~~ ~°.3ci 1()3t), 1 t?43 {~)tli C~`i~•. '?(}[~.)
  ~n
           ~C?9:           "l'.t~e actit~.t~s of T~~;t'enc~a►~ts ~~:14c~ c{»~stittate t~7t•cat:s;:ii~titnici~tio~~, L~c~d c;t~~:~•cio~l ~viti~rl~ tl~c~
  t~
            ~Z~e:<:az~i~~~ c~:[' ~ 52.[ a~ tl~.c~ ~~se off` Ic~rce s~~ vic~l<.~tion c~f~co.tlstitkztio~~al ~•i~1~ts satisfies the ``tl~~•e>at>
  3?
           (tT~11111C~~11t{)17 ()Y Ctrl°C10t"1'4 ~;~~IYlt;17~ 0~`§ ~~.~ .(~G4 ~Y!}Y'tt['r~ l~. ~.Yll~ C7f1G~ ~ ~tJtlTZ1~~ O~.~S'Cit1 ~"il'CdYiC:l,SC'(.)
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           (){)1 "7} 17 C.`.~I.~}~s~~.~tl~ "76f~. 7~)9; see al~c~ I~c;~se. `~~C~c~cir~~v_of ~~~ct~~_I~~~Fc1tc~_. 88b ~.3c.1 1()~f}, ({)43 (f)fl~
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  i f,     2:t().          '.I'he act.ic~~a;~ eat°I:.~efenc~ants co~~st:it~~tc;c1 a ~~rillti~l; ~rax~tc~.~~, t.~~~cf ~a~~~l~.cit~us desire tc~ (7~~.~x~z
  i '7
            I~l<~ir~iiif~~•~~t(tc~~ il~an c;~~~~~4;c z~~ atry le~yiti~~~t~te it~~~~5ti~;~tc.3~•y t~~~.tf~c stc~}7 c>r c~~t.e~~~ic~r~ c7f P.l~aititi~`(`.
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       i    ' X79.           C't~li~'ornia C~~i~-i( C"c>a~e ~ S2. l __ ~•efer~•ec3 to a.s tl~~; ``"1~c~rn I3zti~e C:'~~il Rr~l~t~ I~ct" -- ~~llc~~~~s ~~t~y
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             De~earc~a~~ts us~c1 c~x~ i'l<~irltil'f: Tra f~rz~the~~~~r~ce; t~I'suc[~ et`toris tc~ c~~eate: f-a~;i~~11y ~1~~us.ib.~L j~~~tif-ic~alic>z~
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                                                                                                                     S ~t~' ~'
~~'~._ ~'                                  a`.~i:~f;'.'.. ~Fl i;LS2"T~C~;1:?\ t..c2S£:.~ G:2~~ . ~7s"`.tit':x ;➢:xSu:I ~iSt? £iwE;~'_.i~' ~14f4iL:iS~ v«C7i1:~`.i ±7~3~s:i l'c3 L?£3Sif;~'t~I.~ L`d~'s~i'f'Eif' IC1F.?
         ~~ c%f3~ €F`i C.'.~~,~II"P~##1~~~ °
~._                     ~~c:r~`~.~;. € ~:~ ;;I.:i,i€~~ ~:fr'i~t';;~ `s~~u ;;~:~~ i4 c;~;i~ t ;x !r,:t1~.E r:a:4                                                                      <~=1 ut t~:€~; E~~is~c;~r?i~ i=~~~(~;~ ~.(;                                    s ~}erg                   ~ .a           s,j
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     ..,_...~ "3t?.-mot' -..it55j~                                                                                                                                            ;:%itr_ Yvt S' .. 4
                                            L.a.'',fT~: ~~i~!'k?i~§iLig?Z 3/. C.0*Liti'k~' £7i~ ~..f3.i 1`1S1~~:~C:3, FI sa~.




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                ~~~°~       ~s ~~-~ c~1t~€~¢r~ ~., circi~ ~~a~ na.~s~~~;s~~~ ~~#gac{'a ~x~a~ai~~s tl~~ ~~~~~~s~ fc~r tt~~ c~~.~~-~ fiiin~ Ic~c:~t#c~ra }~~~~ ~~~~.r



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", £-c~,<•:~,i-~-~ ~~s.e;e ca;s~c of :~scti~:~ ~~~~sr.                                                                                              ~.(_~.cati«rs.;ti~rt: azt~ csr x;a~a~e rrfi r~~, ~asi~~,rt~~ii~-
`. F.~~,~~k1 :s~~rY ~<:;:,crfcai sr;t?~• fi}€s~~ is f~su~~?s :~istrsr°.                                                                           '~"l. L W c-~•i~~rz ref f_at~a?~ t~'~rnrrzis:~i~s>.~; :,~Js€icy..
                                                                        p             p      s                                                     a.~_~>"c~~       ~~ F3t~           p, pi~i.3Ys`QFi i't~i's~ ~~~.     — ~rna'~iii £~cir`a F+",r?s z~Cttt€~.sl
c.. Lt.t~.~il~l~, e.4 _E:#' $S a.~t~~(t~{}cdf~_E'. (T,'.~E):i l'I} (i~ ~Y~34.t`~~W'i~>i ~5:~)L~~.
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ti.. !_,"i:F;isf.~ _ ~ ;~Yi3~3€:£i~ COY }7c?trTSrtie7S#.~y L3F::<*.t'{e'Z"~ S':a1,iCii'.




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                    c~c>a-~ ~Jux~.,~~~ f.`~Cr.xs C~i,.,~ .~.                                               (r~t.a`,~£aF ~,.~3~ l3                                         "S                     r                                           ~
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                q                      ~t;:3~.?~::». ,v31 ,-~~s~}                                      ~t..~        ~a~i~~4 i..~?is;tdi,.c^:Fr€;'i:~t s~7..i,F~~i~.~_~,h.~9 iC~~{t1~t3:~r'?'~rt~t £,,3,_,. €;~..i.stt=.a':,~~                                                                                                           z, ~~„3                                                   {
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  k             ~                     .f~;t<<;~t               c~s.iFt>r3{3:~}                             I_$     1's~ik7:~ ~Fo L-~:~~i.i~ ._~I,_,..,..                                                                                                                                                                 ~             ~.~
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 >.•..             .E:- ,: ~~s ~,.r'i?~.i1<.i~ ~~E #~il s3 ri£~.~?~'S`, ili,~Si?~r1 i;~ 1_e341~Si~a~ 5, ~.~ tli.


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                                   vita ,„, b+t;v>::ic} 3'iv; ,-x' ~ 3f.'~                           g i.~         T't;S ~~vi} ~~t'Y:.
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                                     ,rs~e~..v i~c;'F~'ai4;\~id Ltki..a;<:~5~ #~ ~...~                                                             ~~E~.7~~#~s.~~✓~u i1~:Y-s;iif~i~}
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                                     ix.;                    ..lu';~,'L~„t'l~}                       ~ L~          .'cY. C~.:3            ~`~;....ta ~..E,Jt         .y2v„°~I[J.1{.~e~:~i'-                                                                                                             ?, ~., ..
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                      $,..~.. ...~.,..,~,.m..,,.                              .s,,,.,a.T„~,,..                                                                              xitgj...n":;~...~.r_e„m.~,s,,,~,.,.~«M.o«,.,,..,v.~e.,,a„                                        s_.~_.,,~..>,,,...   ~}~..,~....,HI                           ..»,,,.,.....
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    ° `~              ~            a ~ 1_ sL                  •f~,rLl; ~ b ;=t~~                         §,~~,;    t ~~f 3'1 {iii?_: ifG;T,e.:. s .... ~•.., x, ,~'?. c. ,.1 t.-r aE. ~4i`v.l :v.itF is ~; £:_..£#}r:~F~                                                                          ( i          z~,
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   £?                                    -t-. C.is}az~:-v~3..i~cx~l :,                             k, t.4          t{3 <E..,.            i~...,.'t 4.E ~~,~#h aTC:~t                                                                                                                               ~ r
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   .;'{Cf`TTSe~~: ,)E~oSI/
                           ~Gif3#~'-?s ~Cd1i43f1t2`~Z V. ~..OLKI"iI~ G~~CJS ti71f~L~,ac;; ~'~;xi                                                                 r~r`.~r: PEys„c=:,,~{



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            c~iE4SEJx.:                                                                                                                                             ~s2e"ft"t~C:jiri~~(4 C:t34iFitlC3L~S?
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                            t~~~ 5~~~~~ ~ivr ~t3~s~C c~~ 4:i~1'sfc.r~~ir, ~:~~~r~ty;af i..~s €~~.g;e:l .:s ~Co€~~ ~k~P. ~'t•~c., ~~ ~~ e~ sic,,, ~~~ti ~.vc~l t~t~1~ 2.:~{a~)~~}~~jj.



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        ~a°.."L'.:`~~~: 'X'~~r~.". ~ ~`~` s~~"3~._~..~~+~ ~`~'$ ~T°o-~~'~m~'$~ ~'zf°e~                                                   s~e,~s>~✓}'t' ~`~            ~ E~,3`~. t           c.~ ~`~ ~'~'S~3§~i~i~,.°Y



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